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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                            Chapter 7

 Team Systems International, LLC,                  Case No. 22-10066 (CTG)

                         Debtor.


 George L. Miller, solely in his capacity as the
 Chapter 7 Trustee of Team Systems
 International, LLC,

                         Plaintiff,                Adv. Proc. No. 23-50004 CTG)

 -against-

 Deborah Evans Mott, Steven M. Acosta,
 Christopher Mott, John S. Maciorowski,
 Addy Road LLC, Brent Road LLC,
 Benjamin P. Smith, Jessica M. Smith,
 TSI Gulf Coast, LLC, TSI Education &
 Training, Inc., and Team Systems
 International Southeast LLC, and

 John Does 1-100,

                         Defendants.


                                FIRST AMENDED COMPLAINT


          George L. Miller, solely in his capacity as the chapter 7 trustee (the “Trustee”) of the

bankruptcy estate (the “Estate”) of Team Systems International, LLC (the “Debtor” or “TSI”), by

his undersigned counsel, files this First Amended Complaint (the “Complaint”) against the above-

captioned Defendants and alleges as follows:




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                                 NATURE OF THE ACTION

       1.      Defendants Deborah Evans Mott (“Mott”) and Steven M. Acosta (“Acosta”), aided

and abetted by the other Defendants, perpetrated a brazen scheme to hinder, delay, and defraud the

Debtor’s Estate and its creditors while systematically looting the Debtor’s assets.

       2.      TSI bid for and obtained a lucrative government contract as a minority-owned

business. Weeks later, Hurricane Maria devastated Puerto Rico. FEMA paid TSI more than $37

million to procure bottled water for hurricane victims. TSI could have paid all of its creditors in

full and still would have had millions of dollars for equity holders. Instead, Mott and Acosta

decided to keep the money for themselves and embarked on a campaign of fraud and deceit.

       3.      During the four-year period prior to the Petition Date, Mott and Acosta caused the

Debtor to transfer millions of dollars to themselves and to the other Defendants, who are either

close family members of Mott or are entities owned or controlled by Mott, Acosta, or the other

Defendants (collectively, as set forth on Exhibit A, the “Fraudulent Transfers”).

       4.      Among other things, Mott transferred at least $3.5 million of the Debtor’s funds to

acquire or improve four Real Properties (defined below). Those Real Properties were not titled in

the Debtor’s name but, instead, were titled in the name of Mott or one of the other Defendants.

       5.      In addition, Mott and/or Acosta failed to disclose, or actively concealed, large

transfers of the Debtor’s funds and certain Debtor bank accounts. For example:

               a.      On February 27, 2020, the Debtor made transfers of $3 million and $50,000
                       to Defendant Addy Road LLC, an entity controlled by Mott. As discussed
                       below, Mott and/or Acosta attempted to conceal these transfers through the
                       use of fraudulently altered bank statements and by purposefully failing to
                       maintain complete and accurate books and records for the Debtor.

               b.      On September 21, 2020, the Debtor transferred the sum of $1,000,000 to
                       Defendant TSI Education & Training, Inc (“TSI Education”). This transfer
                       had no apparent legitimate business purpose and was not disclosed in the
                       bankruptcy. Defendants Benjamin and Jessica Smith were officers and/or
                       directors of TSI Education at the time of this transfer.


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               c.      On May 10, 2021, the Debtor made two transfers totaling $250,000 to Mott.
                       Even though these transfers were made to an insider less than one year
                       before the bankruptcy filing, the transfers were not disclosed on the
                       Debtor’s Statement of Financial Affairs, which Mott signed under penalty
                       of perjury. Moreover, Mott, Acosta, and/or their agents attempted to
                       conceal these transfers using fraudulently altered bank statements.

               d.      Prior to the bankruptcy, the Debtor had multiple accounts at TD Bank.
                       None of these accounts was disclosed on the Debtor’s Statement of
                       Financial Affairs.

               e.      On May 24, 2021, shortly before the jury trial in the Florida Litigation
                       (defined below), Mott emptied the Debtor’s accounts at TD Bank of nearly
                       $2.3 million. These funds, which represented the bulk of the Debtor’s cash
                       at the time of the withdrawals, were deposited into new accounts at TD
                       Bank in the name of Defendant Team Systems International Southeast LLC
                       (“TSI Southeast”), an entity of which Mott is the Manager.

               f.      On or about November 12, 2021, Mott again moved the Debtor’s cash that
                       had been concealed in the TSI Southeast bank accounts. Notably, these
                       withdrawals occurred while GPDEV, LLC (“GPDEV”) and Simons
                       Exploration Inc. d/b/a Archangel International (“Simons”) were attempting
                       to collect on their judgments and just weeks before the Debtor filed for
                       bankruptcy.

       6.      Mott, Acosta, and others have made numerous false statements, intentionally

altered documents offered as evidence in at least two legal proceedings, and engaged in other

misconduct to further and conceal their fraudulent scheme and looting of the Debtor’s assets.

Among other things, Mott made false statements, including under oath; Mott and/or Acosta

produced falsified or altered documents; Mott and/or Acosta authorized the filing of court

documents that contain false statements; Mott and/or Acosta allowed the Debtor to violate multiple

court orders; and Mott and/or Acosta engaged in other acts of bad faith or intentional misconduct,

as set forth in this Complaint.

       7.      Mott and Acosta, as the sole Managers and members of the Debtor’s Management

Committee, repeatedly breached their fiduciary duties owed to the Debtor and its creditors by

engaging in blatant self-dealing and failing to comply with the most basic requirements of



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corporate governance. Mott’s and Acosta’s breaches of their fiduciary duties were aided and

abetted by each of the other Defendants.

       8.      The Trustee brings this action pursuant to Part VII of the Federal Rules of

Bankruptcy Procedure, on behalf of the Debtor, its Estate, and/or creditors, seeking the entry of a

judgment, among other things: (i) avoiding and recovering the Fraudulent Transfers made by the

Debtor to or for the benefit of one or more of the Defendants as actual intent fraudulent transfers

and/or constructive fraudulent transfers pursuant to 11 U.S.C. §§ 544, 548, 550 and applicable

state law; (ii) imposing liability on each of Mott and Acosta for the numerous breaches of their

fiduciary duties owed to the Debtor; (iii) imposing liability on all of the Defendants for aiding and

abetting those breaches of their fiduciary duties; (iv) declaring that Mott, Acosta, Addy Road LLC,

Brent Road LLC, TSI Education, and TSI Southeast are each the alter ego of the Debtor and

piercing the corporate veil; (v) granting the Trustee a preliminary injunction and a permanent

injunction barring the Defendants from selling, assigning, transferring, encumbering or otherwise

disposing of the Real Properties and the Fraudulent Transfers; (vi) granting the Trustee equitable

relief as requested herein; and (vii) granting the Trustee such other and further relief as may be

just and proper.

                                 JURISDICTION AND VENUE

       9.      Subject matter jurisdiction over this adversary proceeding exists pursuant to

28 U.S.C. §§ 157(a) and 1334(b) and the Amended Standing Order of Reference of the United

States District Court for the District of Delaware, dated February 29, 2012.

       10.     Venue of this adversary proceeding is proper in this district pursuant to 28 U.S.C.

§ 1409(a) and (c). This adversary proceeding is related to the above-captioned bankruptcy case

pending before this Court under chapter 7 of title 11 of the United States Code (the “Bankruptcy

Code”).


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       11.     The predicates for the relief sought herein include sections 105(a), 323, 541(a), 544,

548, 550, and 704 of the Bankruptcy Code, Rule 7001 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and applicable state law.

       12.     Pursuant to Bankruptcy Rule 7008 and Rule 7008-1 of the Local Rules of

Bankruptcy Procedure of the United States Bankruptcy Court for the District of Delaware, the

Trustee consents to the entry of final orders or judgments by a bankruptcy judge.

       13.     The District of Delaware has personal jurisdiction over each of the Defendants

under Bankruptcy Rule 7004 and/or other applicable law. In addition, personal jurisdiction exists

as certain Defendants were a director, officer, control person, or insider of the Debtor, a Delaware

entity; Mott regularly transacts business in Delaware; Addy Road owns real property in Delaware;

and each of the Defendants had multiple, meaningful contacts in the State of Delaware relative to

business activities and transactions which they availed themselves of and which directly and

adversely affected the Debtor and its creditors.

                                            PARTIES

       14.     Plaintiff George L. Miller is the duly qualified and appointed Chapter 7 Trustee of

the Estate.

       15.     The Debtor is a limited liability company organized under the laws of the State of

Delaware. The Debtor’s voluntary petition for relief under chapter 11 indicates that its principal

place of business was in Lewes, Delaware. The Debtor previously listed a place of business at

822 A1A North, Suite. 310, Ponte Vedra, Florida 32082.

       16.     Defendant Mott is an individual who, upon information and belief, resides at 705

Riverside Drive, Ormond Beach, Florida 32176. Among other things, Mott is a Managing Member

and member of the Debtor’s Management Committee, the Debtor’s Tax Matters Member, the




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Debtor’s Chief Executive Officer, and a Member of the Debtor who allegedly holds 75% of the

equity interests in the Debtor.

        17.      Defendant Acosta is an individual who, upon information and belief, resides at

3901 Blue Sage Drive, Prosper, Texas 75078. Among other things, Acosta is a Managing Member

and member of the Debtor’s Management Committee and is a Member of the Debtor who allegedly

holds 20% of the equity interests in the Debtor.1             In addition, Acosta served as the Debtor’s

Tactical Training Director, Facility Security Officer, and Director of Operations.

        18.      Defendant Christopher Mott (“CM”) is an individual who, upon information and

belief, is Mott’s son and resides at 415 East Pine Street, Orlando, Florida 33801. Among other

things, CM is a Member of the Debtor who allegedly holds 4% of the equity interests in the Debtor.

In addition, CM was the Debtor’s Director, Business Development & Sales.

        19.      Defendant John S. Maciorowski (“JM”) is an individual who, upon information and

belief, is Mott’s husband and resides at 705 Riverside Drive, Ormond Beach, Florida 32176.

Among other things, JM is a Member of the Debtor who allegedly holds 1% of the equity interests

in the Debtor.

        20.      Defendant Benjamin P. Smith (“BS”) is an individual who, upon information and

belief, is Mott’s son-in-law and resides at 8401 Whitman Drive, Bethesda, Maryland 20817.

        21.      Defendant Jessica M. Smith (“JS”) is an individual who, upon information and

belief, is Mott’s daughter and resides at 8401 Whitman Drive, Bethesda, Maryland 20817.

        22.      Defendant Addy Road LLC (“Addy Road”) was organized on or about May 31,

2019, as a limited liability company under the laws of the State of Florida. Addy Road’s last




1
 The timing and circumstances of when Acosta became a Manager of TSI are unclear and were an issue in the Florida
Litigation (defined below).



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known address is 705 Riverside Drive, Ormond Beach, Florida 32176. Mott is the manager of

Addy Road.2

           23.     Defendant Brent Road LLC (“Brent Road”) was organized on or about July 20,

2018, as a limited liability company under the laws of the State of Florida. Brent Road’s last

known address is 500 E. Broward Blvd., 1820, Fort Lauderdale, Florida 33394. Mott is or was the

Manager of Brent Road. JS is or was a member of Brent Road.

           24.     Defendant TSI Gulf Coast, LLC (“TSI Gulf Coast”) was organized on or about

December 20, 2017, as a limited liability company under the laws of the State of Texas. TSI Gulf

Coast’s last known address is 7413 Danbridge Ln., Frisco, Texas 75035. Acosta is the Manager

and member of TSI Gulf Coast.

           25.     Defendant TSI Education was incorporated on or about March 2, 2020 as a

corporation under the laws of the State of Florida. TSI Education’s last known address is 1975 E.

Sunrise Blvd., 504, Fort Lauderdale, Florida 33304. According to TSI Education’s Articles of

Incorporation, the specific purpose for TSI Education was “education of TSI employee children”.3

Also according to TSI Education’s Articles of Incorporation, the officers and/or directors of TSI

Education are Defendants BS and JS and non-party Randall Leshin, who previously served as

counsel to the Debtor in the Florida Litigation (defined below). Upon information and belief, Mott

and JS had signing authority for TSI Education’s bank account.

           26.     Defendant TSI Southeast was organized on or about April 15, 2021 as a limited

liability company under the laws of the State of Florida. TSI Southeast’s last known address is

822 A1A North, Suite. 310, Ponte Vedra, Florida 32082. Mott is the Manager of TSI Southeast.


2
  Upon information and belief, on or about November 15, 2021, Mott formed another entity called Addy Road LLC
as a Delaware limited liability company. Discovery may reveal claims against that entity. The Trustee reserves the
right to amend this Complaint to add that entity, or any other person or entity, as a party.
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    As discussed below, the Debtor had no employees.


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        27.      Upon information and belief, John Does 1-100 include, among others, transferees

of one or more of the Fraudulent Transfers; parties asserting an interest in one or more of the Real

Properties; and/or their respective affiliates, successors or assigns.

                                 FACTS COMMON TO ALL COUNTS

        28.      Prior to the bankruptcy, TSI served the United States government as a prime

contractor and subcontractor for various agencies and projects. TSI provided logistical support for

government entities, including the procurement, transport, and delivery of goods and services.

Most significantly to this case, TSI entered into certain agreements with the Department of

Homeland Security, Federal Emergency Management Agency (“FEMA”), to supply and deliver

bottled water to designated locations in the event of natural disasters.

        29.      TSI was managed by its Management Committee, also referred to as Managers,

who at all relevant times were Mott and Acosta.

        30.      The Members of TSI are Mott, Acosta, Mott’s son CM, and Mott’s husband JM.

        31.      Upon information and belief, the work of TSI was performed by its Members and

TSI had no employees.

A.      The FEMA Contract and Payments

        32.      Effective as of August 16, 2017, TSI entered into a Consulting Agreement (as

amended or modified, the “Consulting Agreement”) with GPDEV and Simons.4

        33.      As set forth in the Consulting Agreement, TSI, with the assistance of GPDEV and

Simons, would procure a supply of bottled water from Niagara Bottling, LLC, to sell to FEMA,

among others, and, in exchange, TSI agreed to pay GPDEV and Simons a total success fee of 25%



4
  The circumstances related to amounts allegedly due and owing to GPDEV and Simons under the Consulting
Agreement are the subject of a pending appeal. Nothing contained in this Complaint shall be construed as an admission
against the Trustee, the Debtor, or the Estate. The Trustee reserves all rights.



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of the “net amount of income TSI actually receives from amounts invoiced to and by said agencies

and or [sic] customers.         Net Income is defined as Gross Revenue less (cost of Goods

Sold+Transportation+Direct Labor Expense).”

        34.      Mott executed the Consulting Agreement on behalf of TSI.

        35.      On or about September 5, 2017, FEMA awarded TSI a five-year contract to provide

water bottles on an as-needed basis.

        36.      Shortly thereafter, on September 20, 2017, Hurricane Maria devastated Puerto Rico

and FEMA initiated a request to TSI for 80 million liters of water, which was subsequently reduced

to approximately 13 million liters.5

        37.      Upon information and belief, TSI received certain payments from FEMA for the

delivery of water bottles, including:

                 a.       $18,338,822.81, which was paid on or about November 29, 2017;

                 b.       $7,297,500.00, which was paid on or about February 8, 2018;

                 c.       $7,301,224.77, which was paid on or about April 16, 2018; and

                 d.       $4,645,725.00, which was paid on or about May 21, 2019.

        38.      Upon information and belief, during the time period that these FEMA payments

were made, November 29, 2017 to May 21, 2019, TSI had no other significant source of revenue.




5
 The circumstances related to FEMA’s orders, and amounts that may be due and owing to the Estate, are the subject
of ongoing litigation between FEMA and the Estate. Nothing contained in this Complaint shall be construed as an
admission against the Trustee, the Debtor, or the Estate. The Trustee reserves all rights.



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B.        The Florida Litigation

          39.     On or about December 6, 2017, TSI paid the sum of $355,618.99 to GPDEV and

the sum of $642,751.26 to Simons.

          40.     GPDEV and Simons each asserted that TSI had significantly underpaid them under

the Consulting Agreement.

          41.     On September 21, 2018, GPDEV and Simons filed suit (the “Florida Litigation”)6

against TSI in the United States District Court for the Northern District of Florida (the “Florida

District Court”).

          42.     The dispute in the Florida Litigation centered on, among other things, (i) whether

the parties had orally modified the Consulting Agreement and (ii) which contract line item

numbers were subject to the 25% commission.

          43.     During the Florida Litigation, GPDEV and Simons alleged that TSI’s

representatives, among other things, withheld documents, produced documents that were created

after the fact, and/or engaged in other misconduct. For example:

                  a.       TSI’s representatives challenged the Florida District Court’s diversity
                           jurisdiction and produced certain documentation purporting to show
                           that Acosta, who said he lived in California (the home state of one of the
                           plaintiffs), had been a Member of TSI since before the Florida Litigation
                           was commenced. The Florida District Court found “it is more likely than
                           not” that this documentation “was created after the jurisdictional issue arose
                           and it is not authentic.”

                  b.       TSI’s representatives produced a document purporting to show FEMA had
                           paid TSI the sum of $27,303,597.17, while documents produced by FEMA
                           showed it had actually paid TSI a total of $37,579,547.81, a difference of
                           more than $10 million. TSI’s counsel then withdrew its document.

                  c.       TSI’s representatives attempted to claim millions of dollars in expenses in
                           the Florida Litigation but failed to provide supporting documentation.



6
    GPDEV, LLC and Simons Exploration, Inc. v. Team Systems International, LLC, No. 18-cv-00442-RH-MAF.



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               d.      TSI’s representatives purported to produce documents in support of
                       expenses incurred by TSI, in spite of the fact that TSI’s prior counsel had
                       represented that such documents did not exist. The Florida District Court
                       observed that GPDEV and Simons “made a strong showing that something
                       was amiss.”

       44.     Following a trial conducted on August 23-25, 2021, the jury in the Florida

Litigation returned a verdict in favor of GPDEV and Simons. The jury awarded damages in the

amount calculated by GPDEV and Simons’ expert: $2,770,855 for GPDEV and $2,483,722 for

Simons.

       45.     On September 28, 2021, the Florida District Court entered a Judgment in favor of

GPDEV and Simons, among other things, confirming the jury’s award of damages and granting

prejudgment interest in the amount of $527,140.32 for GPDEV and $464,358.46 for Simons.

       46.     TSI appealed the judgments to the United States Court of Appeals for the Eleventh

Circuit.

       47.     TSI did not post a bond or obtain a stay pending appeal from either the Florida

District Court or the Eleventh Circuit.

       48.     GPDEV and Simons commenced discovery in aid of post-judgment enforcement.

       49.     GPDEV and Simons alleged that TSI’s representatives failed to comply with such

discovery and obtained the entry of an Order to Show Cause to compel production.

       50.     On January 7, 2022, TSI’s counsel filed a motion requesting additional time to

comply with the Florida District Court’s order on the ground that “TSI’s principal and its

bookkeeper were both recently diagnosed with significantly symptomatic COVID cases last week

and continue to be ill and resting.” The requested extension was denied.

       51.     Thereafter, the Florida District Court issued a further Order to Show Cause, among

other things, directing TSI to identify the “principal” and “bookkeeper,” submit documentation

regarding their COVID diagnoses, and provide an address where Mott would be taken into custody


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by the U.S. Marshal Service if they are held in civil contempt. As discussed below, rather than

comply, the Debtor filed a voluntary chapter 11 petition with this Court.

C.      Insolvency

        52.      Based upon the Debtor’s books and records and information obtained by the

Trustee through discovery and investigation to date, by no later than July 2019, the Debtor was

balance sheet insolvent in that the sum of the Debtor’s debts was greater than all of the Debtor’s

property, at a fair valuation or at a fair value.

        53.      Mott and Acosta, as the Managers of TSI, knew or should have known as of July

2019 that the Debtor’s liabilities exceeded the fair value of the Debtor’s assets.

        54.      As of July 2019, the Debtor’s liabilities, including amounts owed to GPDEV,

Simons and the Internal Revenue Service, among others, exceeded the Debtor’s assets, at a fair

valuation or at a fair value.

        55.      Upon information and belief, as of July 2019, the Debtor’s assets consisted of cash

and certain accounts receivable.

        56.      Approximately 15 months later, on or about October 20, 2020, the Debtor sought

payment from FEMA in the amount of $13,504,192 based upon FEMA’s reduction of an order for

bottled water. FEMA rejected the Debtor’s claim. The Debtor appealed to the United States

Civilian Board of Contract Appeals (the “CBCA”). On February 9, 2023, the CBCA issued a

decision denying the Debtor’s appeal. The Trustee has appealed that decision to the U.S. Court of

Appeals for the Federal Circuit.7




7
 In light of the pending FEMA litigation, nothing contained in this Complaint shall be construed as an admission
against the Trustee, the Debtor, or the Estate. The Trustee reserves all rights.


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D.     The Chapter 11 Case

       57.     On January 18, 2022 (the “Petition Date”), the Debtor filed with this Court a

voluntary petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”).

Mott signed the petition, and Mott and Acosta each signed the resolution authorizing the

bankruptcy filing.

       58.     Also on the Petition Date, the Debtor filed the Declaration of Deborah Evans Mott

in Support of Debtor’s Chapter 11 Petition and First Day Motion. In that declaration, among other

things, Mott states that “[t]he Management Committee [of TSI] is comprised of Mr. Acosta and

Ms. Mott. There are two additional members – Christopher Mott and John Maciorowski. TSI

does not have any employees.”

       59.     On January 26, 2022, the Debtor filed its schedules of assets and liabilities and its

statement of financial affairs, which Mott signed under penalty of perjury. Among other things,

the Debtor failed to disclose on its statement of financial affairs various transfers of money outside

the ordinary course of business or financial affairs during the two years prior to the Petition Date

and at least $250,000 in transfers to Mott, personally, within one year prior to the Petition Date.

       60.     On January 27, 2022, GPDEV and Simons filed a motion to dismiss the Debtor’s

Chapter 11 Case (the “Motion to Dismiss Case”).

       61.     Bering Straits filed a response to the Motion to Dismiss Case, asking the Court to

convert the Debtor’s case to chapter 7 rather than dismissing it.

       62.     In connection with the Motion to Dismiss Case, on February 7, 2022, counsel for

GPDEV and Simons, among others, took Mott’s deposition (the “February 2022 Deposition”).

       63.     Among other things, during the February 2022 Deposition:

               a.      Mott testified that a $319,849.91 transfer to Southern Title was a “K-1
                       payment” and was “transferred to the members’ capital accounts,” half to



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                       Mott and half to JM. As discussed below, this transfer related to the
                       acquisition of the Ormond Beach Property (defined below).

               b.      Mott testified that a $24,232 transfer by TSI to All Aqua Pools was “applied
                       to my capital account.”

               c.      Mott testified that a $1,666,432 transfer to the Maryland law firm of
                       Shulman Rogers Gandal Pordy & Ecker P.A. (“Shulman Rogers”) was for
                       “professional services.” As discussed below, this transfer related to the
                       acquisition of the Bethesda Property (defined below).

               d.      Mott testified that a July 2019 transfer to Defendant BS, an attorney at
                       Shulman Rogers, was for “translation services.” BS is Mott’s son-in-law
                       and is the co-owner of the Bethesda Property.

               e.      When asked about payments made by TSI relating to automobiles,
                       including Mercedes-Benz, Mott stated, among other things, that “TSI
                       doesn’t own any vehicles” and Mott admitted that she drives a Mercedes-
                       Benz.

               f.      When asked about a $928,843.10 transfer to the law firm Tunnell & Raysor,
                       Mott testified that the law firm wrote “a memo on the diversity issues in the
                       Florida case” and “provided contract review services.” In fact, as discussed
                       below, Tunnell & Raysor provided no legal services to TSI and, instead,
                       this and other transfers to the law firm were for the acquisition of the
                       Bethany Beach Property by Defendant Addy Road, an entity controlled by
                       Mott.

       64.     During the February 2022 Deposition, Mott was asked why portions of the Debtor’s

bank statements that had been produced, including the portions relating to a $3 million transfer of

the Debtor’s funds on February 27, 2020, had been redacted and Mott responded “[b]ecause it had

handwritten notes on it.” As discussed below, that was not accurate.

       65.     Also during the February 2022 Deposition, Mott declined to answer various

questions about the Florida Litigation, asserting she was “not the corporate representative in the

Florida litigation” and stated that Acosta was the corporate representative for that case.

       66.     Further, during the February 2022 Deposition, Mott was questioned about the

Debtor’s tax returns. Among other things, Mott stated that an undated 2018 tax return was a “true

and accurate copy” of the Debtor’s 2018 tax return filed with the Internal Revenue Service (“IRS”).


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       67.     During the Chapter 11 Case, the Debtor’s representatives produced copies of what

purported to be the Debtor’s 2018 and 2019 tax returns, along with dates that these returns had

been filed.

       68.     However, the same day as the February 2022 Deposition, the IRS filed a general

unsecured proof of claim for penalties arising from the Debtor’s failure to file tax returns for the

past six tax years, including 2018—the year Mott claimed had been filed.

       69.     The IRS proof of claim includes a note for each of the tax years stating, in relevant

part, “liability is estimated based on available information because the return has not been filed”

(emphasis added). The Trustee confirmed with the IRS that, at least as of the date that the IRS

filed its proof of claim, the Debtor had not filed federal tax returns for multiple years.

       70.     On February 16, 2022, GPDEV and Simons filed a motion for sanctions based on

Mott’s statements made during the February 2022 Deposition and the Debtor’s document

production.

       71.     Two days later, on February 18, 2022, the Debtor’s original Chapter 11 counsel

filed a motion to withdraw as counsel.

       72.     On March 9, 14, and 16, the Court conducted an evidentiary hearing (the “March

Hearing”) on the Motion to Dismiss Case.

       73.     Mott did not appear at the March Hearing.

       74.     Acosta testified during the March Hearing, among other things, that he (i) did “not

have any operating experience” on the Debtor’s accounting system, (ii) never accessed the

Debtor’s accounting system, (iii) did not have access to any of the Debtor’s bank accounts, and

(iv) did not know the name of any accountant of the Debtor or where they were located. Acosta

also testified that he received K-1s each year from TSI.




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        75.       Acosta further testified during the March Hearing that, as a government contractor,

if TSI failed to file tax returns, TSI would be “considered untrustworthy” and “not reliable” and

could lose its clearance and its ability to bid on certain contracts—in other words, Acosta indicated

that it would essentially be impossible for TSI to operate if it did not file its tax returns. But Acosta

added that he had no firsthand knowledge that tax returns were actually filed and, instead, was

relying on an unproduced letter from a lawyer in Florida whose name Acosta could not provide.

        76.       On March 30, 2022, the Court issued its Memorandum Opinion converting the

Debtor’s case to a case under chapter 7 of the Bankruptcy Code.

        77.       Among other things, in the Memorandum Opinion, the Court found that:

                  a.     the “unrebutted evidence suggest[s] that TSI presented fabricated evidence
                         to the district court in the Florida Litigation”;

                  b.     “evidence unearthed, for the first time, in discovery in this bankruptcy case
                         suggest[s] the debtor engaged in other misconduct in the Florida litigation”;

                  c.     there are “serious questions regarding the debtor’s prepetition transfers to
                         insiders” and “misleading testimony and records relating to those transfers”;
                         and

                  d.     “serious questions” were raised “about the debtor’s conduct in the
                         bankruptcy case,” including the production of undated tax returns for 2018
                         and 2019, which appear to never have been filed, despite contrary testimony
                         from Mott.

E.      Chapter 7 Case

        78.       On March 31, 2022 (the “Conversion Date”), the Bankruptcy Court entered an

Order (i) converting the Debtor’s Chapter 11 case to a case under Chapter 7 of the Bankruptcy

Code, and (ii) directing the Debtor to turn over to the Trustee all records and Estate property.

        79.       On the Conversion Date, the Trustee was appointed as the interim Chapter 7 Trustee

of the Estate.




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       80.     Thereafter, following a contested election, the Trustee was duly qualified and

appointed as the permanent Chapter 7 Trustee of the Estate.

       81.     Since his appointment, the Trustee has undertaken an investigation of the Debtor’s

prepetition transfers and transactions.

       82.     Despite professing that they wish to cooperate with the Trustee, Mott and Acosta

have actively obstructed the Trustee’s investigation. Among other things:

               a.      Mott and Acosta have failed and continue to obstruct the turnover of
                       complete and accurate books and records for the Debtor;

               b.      Mott, Acosta and/or their agents have failed to accurately and completely
                       respond to questions from the Trustee and his professional advisors;

               c.      Mott and Acosta have opposed the Trustee’s efforts to obtain documents
                       from them and from third parties; and

               d.      Mott and Acosta failed to preserve the Debtor’s records and computer
                       equipment and, instead, turned over a laptop computer they claim was
                       broken. In fact, it appears this laptop computer was intentionally wiped of
                       all data before it was turned over to the Trustee and the hard drive supplied
                       to the Trustee was not the original hard drive of the laptop computer.

       83.     On June 9, 2022, the Trustee filed a motion seeking the entry of an order holding

the Debtor and the Member Defendants in contempt for their failure to turn over Estate property,

including books and records, and for sanctions.

       84.     On July 14, 2022, the Court entered an order (the “Contempt Order”) granting in

part the Trustee’s motion.

       85.     Among other things, the Contempt Order prohibited Mott, Acosta, and their

affiliates from “transferring or encumbering the Real Properties for a period of six months from

the date upon which this Order is entered without prejudice to the rights of any party to seek to

terminate or to extend this prohibition.”




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       86.     On September 12, 2022, counsel for the Trustee took Mott’s deposition (the

“September 2022 Deposition”).

       87.     During the September 2022 Deposition, Mott was evasive and repeatedly claimed

not to recall information.

       88.     For example, during the September 2022 Deposition, Mott was asked who controls

Addy Road, to which she responded, “I have no recollection at this point in time.” Similarly, Mott

claimed not to recall what business Addy Road was in or why TSI would have transferred millions

of dollars to Addy Road.

       89.     Notwithstanding her lack of recollection, Moot uses an email address with a domain

name of “addyroad.com,” which Mott’s counsel provided as her email address the day after the

deposition.

       90.     At another point during the September 2022 Deposition, immediately following a

break, Mott was asked whether she had discussed her testimony with anyone during the break, to

which she responded, “to the best of my knowledge right now, I do not recall,” even though the

break had just ended.

       91.     Despite her evasiveness, Mott acknowledged several important facts during the

September 2022 Deposition, including without limitation the following:

               a.       Mott was primarily responsible for the Debtor’s internal accounting during
                        the last five years;

               b.       The Debtor’s accounting was done on one laptop computer that Mott had
                        personally used and which subsequently was damaged with the information
                        not recoverable;

               c.       Mott claimed to have no “specific recollection” of any Management
                        Committee meetings having been held in the last five years but that, if such
                        meetings were held, “it would have been Mr. Acosta” who was responsible
                        for keeping the minutes of any such meetings;




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                 d.      Mott acknowledged that she would have been responsible for preparing and
                         filing the Debtor’s tax returns;

                 e.      Mott again testified that the Debtor filed tax returns for 2018 and 2019;

                 f.      Mott confirmed that she would have seen all of the Debtor’s bank
                         statements for the last five years; and

                 g.      Mott confirmed that she had check signing authority for the Debtor.

        92.      While the Trustee’s investigation remains ongoing, it has already revealed

numerous avoidable transfers and instances of wrongdoing by Mott, Acosta, and the Defendants,

which are set forth in following sections.8

F.      Fraudulent Transfers to Defendants

        93.      During the four year period prior to the Petition Date, Mott and/or Acosta caused

the Debtor to make the Fraudulent Transfers to themselves, to entities they own or control, to the

other Member Defendants, or to members of Mott’s immediate family.

        94.      The Fraudulent Transfers to or for the benefit of each of the Defendants are set forth

on Exhibit A to this Complaint.

        95.      The Fraudulent Transfers include, without limitation, payments to acquire the Real

Properties, unauthorized and improper distributions to the Member Defendants, unsupported

expense payments or reimbursements, payments to or for the benefit of various members of Mott’s

family without proper support or justification, and payments for automobiles, furniture,

landscaping and other personal expenses of one or more of the Defendants, among other things.

        96.      Despite the Trustee’s repeated requests for invoices or other supporting

documentation regarding the Fraudulent Transfers, Mott and Acosta generally have failed to




8
 Because the Trustee’s investigation is still ongoing, and because the Defendants or their agents have actively
obstructed that investigation, the Trustee reserves the right to amend or supplement this Complaint.



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produce invoices or other supporting documents that would indicate the Debtor received any

consideration for the Fraudulent Transfers.

         97.      While Mott and Acosta have produced certain documents, they lack credibility. For

example, they produced an invoice bearing the name of Addy Road LLC, in the amount of

$2,999,998.60 for “Logistics and Fuel Services.” That invoice is dated January 4, 2019. As

discussed above, Addy Road was not formed until May 31, 2019, five months after the date of this

invoice. Upon information and belief, Addy Road is a holding company that holds title to the

Bethany Beach Property.

         98.      Accordingly, by this Complaint, the Trustee seeks to avoid and recover all

avoidable transfers made and obligations incurred by the Debtor to or for the benefit of one or

more of the Defendants.

         99.      The following sections of this Complaint describe certain of the Fraudulent

Transfers that were either made to acquire the Real Properties and/or fraudulently concealed.

G.       Mott Diverted the Debtor’s Funds to Acquire the Real Properties

         100.     Mott, her close family members, and/or entities she owns or controls acquired

multiple residential real properties using funds transferred from TSI’s bank accounts.9




9
  Discovery may reveal additional real properties or other assets that were acquired using TSI’s funds. For example,
it appears that, on August 10, 2018, Mott caused TSI to acquire a residential real property located at 106 Northbrook
Lane, Ormond Beach, Florida for approximately $170,000. It appears that TSI sold the property on March 24, 2021,
but the Trustee has not yet traced the proceeds of that sale. This transaction raises several red flags, including that
Mott executed an affidavit dated March 24, 2021 in which her name is repeatedly misspelled as “Motts,” the affidavit
states Mott is the sole member of the limited liability company but later states that it has more than one member, and
the affidavit identifies TSI as a Florida limited liability company when, in fact, TSI is a Delaware limited liability
company and the Florida Department of Corporations’ website does not list TSI as a domestic Florida limited liability
company.



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                          i.       The Ormond Beach Property

        101.     On April 12, 2018, TSI transferred the sum of $319,849.91 from its bank account

at BBVA ending -8953 to Southern Title Holdings.10

        102.     On April 13, 2018, Mott and JM acquired certain real property located at 705

Riverside Drive, Ormond Beach, Florida 32176 (the “Ormond Beach Property”) for approximately

$320,000. Southern Title Holdings handled the closing.

        103.     During the February 2022 Deposition, Mott testified that the $319,849.91 transfer

to Southern Title was a “K-1 payment” and was “transferred to the members’ capital accounts,”

half to Mott and half to JM.

        104.     However, during the Florida Litigation, Mott, Acosta, and/or their agents

represented that this $319,849.91 payment was an expense that TSI incurred in connection with

the provision of water bottles to FEMA and should claim that expense as a deduction from the

amount owed to GPDEV and Simons.

        105.     Specifically, during discovery in the Florida Litigation, Mott, Acosta, and/or their

agents produced certain documents, including a document that bears bates # TSI 452, which is

excerpted below:




        106.     In addition, during discovery in the Florida Litigation, Mott, Acosta, and/or their

agents produced a document which bears bates # D022512, which is excerpted below:




10
   Thereafter, on or about August 8, 2018, TSI transferred the sum of $170,100.00 to Southern Title Holdings and
listed the transfer as a “K1” distribution to JM.


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       107.    While these two documents include slightly different descriptions, they each

indicate that the $319,849.91 payment by TSI on April 12, 2018, was made to an entity called

Tesza/Teza for transport services. Neither document discloses that the transfer was actually made

to Southern Title Holdings to fund the acquisition of the Ormond Beach Property.

                       ii.       All Aqua Pools

       108.    During the Florida Litigation, Mott, Acosta, and/or their agents attempted to claim

expenses paid to “All Aqua” were transport costs.

       109.    Below is an excerpt of a document bearing bates # D022485 that was produced

during the Florida Litigation:




       110.    As set forth above, this document purports to show that TSI paid $24,232.50 to All

Aqua for “TRANSPORT TRUCK” services.

       111.    Similarly, during the Florida Litigation, Mott, Acosta, and/or their agents claimed

that an additional payment of $19,232.50 to “All Aqua” was a business expense of TSI.

       112.    Below is an excerpt of a document bearing bates # D022533 that was produced

during the Florida Litigation:



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       113.    In fact, All Aqua Pools is a company hired to install a pool at the Ormond Beach

Property, as Mott later admitted during the February 2022 Deposition.

       114.    TSI transferred at least $75,450.00 to All Aqua Pools, which transfers were listed

as “K1” distributions to Mott and/or JM.

                       iii.    The Bethesda Property

       115.    On May 10, 2018, Mott caused TSI to enter into a sales contract for certain

residential real property located in Potomac, Maryland (the “May Sales Contract”).

       116.    On or about May 11, 2018, Mott engaged Shulman Rogers, where Mott’s son-in-

law, BS, works, to conduct the settlement of the May Sales Contract.

       117.    On May 14, 2018, TSI transferred the sum of $100,000.00 by wire transfer from its

bank account at BBVA ending -8953 to Shulman Rogers.

       118.    On or about May 18, 2018, the parties terminated the May Sales Contract and

released the $100,000.00 earnest money deposit to Shulman Rogers for TSI.

       119.    On July 12, 2018, TSI transferred the sum of $22,000.00 by wire transfer from its

bank account at BBVA ending -9759 directly to Defendant BS.

       120.    As stated above, during the February 2022 Deposition, Mott stated that this $22,000

transfer to BS was for “translation services.” However, this wire transfer was made to BS

personally, not to his law firm.

       121.    On July 13, 2018, Mott caused TSI to enter into a sales contract for certain

residential real property located in Potomac, Maryland (the “July Sales Contract”). The July Sales


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Contract identifies the buyer as “Team Systems International by Debbie Mott, and any future

assignee.”

        122.    On or about July 19, 2018, Shulman Rogers transferred TSI’s $100,000.00 deposit

to the new file for the July Sales Contract.

        123.    On or about August 3, 2018, the parties terminated the July Sales Contract.

        124.    Upon information and belief, at some point after entering into the July Sales

Contract, Mott gave verbal direction to Shulman Rogers to move TSI’s $100,000.00 deposit to the

file of Defendant Brent Road at Shulman Rogers.

        125.    On August 22, 2018, TSI transferred the sum of $1,666,432.86 by wire transfer

from its bank account at BBVA ending -9759 to Shulman Rogers. Upon information and belief,

as of this date, Shulman Rogers had no active matters for TSI as the July Sales Contract had already

been terminated.

        126.    On August 30, 2018, Brent Road acquired certain residential real property located

at 8401 Whitman Drive, Bethesda, Maryland 20817 (the “Bethesda Property”) from Mid-Atlantic

Custom Builders LLC for $1,840,000. Shulman Rogers handled the closing for the Bethesda

Property. Mott signed the deed on behalf of Brent Road, as grantee.

        127.    During the February 2022 Deposition, Mott stated that the $1,666,432 transfer to

Shulman Rogers on August 22, 2018 was for “professional services.” Also during the February

2022 Deposition, Mott identified Shulman Rogers as TSI’s “outside general counsel.”

        128.    However, upon information and belief, TSI only paid Shulman Rogers

approximately $23,000 for legal services during the period from May 2018 through the Petition

Date.




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       129.    Approximately 10 months after Brent Road acquired title to the Bethesda Property,

title was transferred to Mott’s daughter, JS, for no consideration to TSI.

       130.    Specifically, on or about July 19, 2019, JS filed Articles of Dissolution for Brent

Road with the Florida Secretary of State, stating, in part, that Brent Road’s assets would be

distributed to JS.

       131.    The Brent Road Articles of Dissolution signed by JS refer to Florida Statute

§ 605.0701(2), which permits the dissolution of a Florida limited liability company with the

consent of all members. JS is the only signatory on the Articles of Dissolution, thus suggesting

she was the sole member of Brent Road. JS has represented that Brent Road is dissolved and that

it has no assets. The Trustee’s investigation remains ongoing.

       132.    Three days later, on July 22, 2019, Brent Road transferred title to the Bethesda

Property to JS. JS signed the deed both on behalf of Brent Road, as grantor, and on her own behalf,

as grantee.

       133.    Also on July 22, 2019, JS transferred title to the Bethesda Property to BS and JS as

tenants by the entirety.

       134.    JS and BS were not members of TSI and had no right to receive any of the Debtor’s

funds, which were converted into the Bethesda Property.

                       iv.    Bethany Beach Property

       135.    Between June 2019 and July 2019, TSI made three transfers to the Delaware law

firm of Tunnell & Raysor, P.A. (“T&R”):

               a.      on June 4, 2019, TSI transferred $25,000.00 to T&R by wire transfer from
                       its BBVA account ending -7965;

               b.      on July 10, 2019, TSI transferred $928,843.10 to T&R by wire transfer from
                       its BBVA account ending -7965; and




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               c.      on July 19, 2022, TSI transferred $2,500 to T&R by wire transfer from its
                       BBVA account ending -9759.

       136.    During the February 2022 Deposition, Mott testified that the $928,843.10 payment

to T&R was for “professional services,” stating, “they’re a Delaware law firm, so they did provide

a memo on the diversity issues in the Florida case, but I don’t -- I don’t know exactly which issues.

They’ve provided contract review services, and I’m sure they’ve provided other things.”

       137.    In its Memorandum Opinion, the Court found Mott’s testimony to be not credible.

       138.    In fact, T&R did not provide any legal services to TSI.

       139.    Rather, the transfers to T&R listed above were made to fund the acquisition of a

beach house located at 20 Addy Road, Bethany Beach, Delaware 19930 (the “Bethany Beach

Property”), which was acquired on July 22, 2019 by Defendant Addy Road—an entity owned and

controlled by Mott.

                       v.      The Blue Springs Property

       140.    On June 11, 2020, TSI transferred the sum of $75,072.00 from its BBVA account

ending -7965 to McBee Custom Homes LC (“McBee”).

       141.    On August 10, 2020, TSI transferred the sum of $200,000.00 from its BBVA

account ending -7965 to Coffelt Land Title, Inc. (“Coffelt”).

       142.    Also on August 10, 2020, TSI transferred the sum of $141,117.44 from its BBVA

account ending -9759 to Coffelt.

       143.    In addition, on August 10, 2020, Mott acquired in her own name certain residential

real property located at 1509 SW Conch Circle, Blue Springs, Missouri (the “Blue Springs

Property”) for the sum of $416,172.

       144.    The deed reflects that McBee was the seller of the Blue Springs Property and that

Coffelt handled the closing.



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       145.     Collectively, the Ormond Beach Property, the Bethesda Property, the Bethany

Beach Property, and the Blue Springs Property are referred to in this Complaint as the “Real

Properties.”

H.     Fraudulently Concealed Transfers

       146.     During the four year period prior to the Petition Date, the Debtor made numerous

transfers between its own accounts or to one of the Defendants that either were not properly

disclosed or were actively concealed.

       147.     For example, on February 27, 2020, TSI transferred the sum of $3,000,000.00 from

its account at BBVA ending -2888.

       148.     Mott, Acosta, and/or their agents actively attempted to conceal this transfer.

       149.     On February 2, 2022, representatives of the Debtor produced a document

purporting to be the February 2020 bank statement for the Debtor’s account at BBVA ending -

2888. That document bears the bates # TSI000180. Following is an excerpt from that document:




       150.     As reflected above, the text following “INT. TRANSFER TO ACCOUNT” appears

to have been obscured using white-out or some other means to conceal information.

       151.     During the February 2022 Deposition, Mott testified that this bank statement had

been redacted “[b]ecause it had handwritten notes on it.”


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       152.    Below is an excerpt from the same February 2020 bank statement without the

redaction:




       153.    As the unredacted copy of this bank statement makes clear, the redacted

information identifies that the $3 million was transferred to Addy Road, Mott’s entity.

       154.    The $3 million transfer was not listed in the Debtor’s monthly transaction report

for account ending -2888 for February 2020.

       155.    Mott, Acosta, and/or their agents attempted to conceal other transfers.

       156.    For example, below is an excerpt of the February 2020 bank statement for the

Debtor’s account at BBVA ending -9759, which was produced during the Chapter 11 Case and

bears bates # TSI000034. Note the third transaction from the top dated February 27, 2020 in the

amount of $50,000:




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       157.      Below is an excerpt from the same February 2020 bank statement without the

redaction:




       158.      Again, this appears to have been a deliberate attempt to conceal a transfer made by

the Debtor to Addy Road.

       159.      In addition, in March 2018, Mott and/or Acosta caused the Debtor to make

significant transfers by check from its account at BBVA ending -8953 for automobiles, including

the following:




       160.      In its monthly transaction report, the Debtor listed these payments for automobiles

as “subcontractor” payments.

       161.      During the February 2022 Deposition, Mott stated that “TSI doesn’t own any

vehicles.” Mott also admitted that she drives a Mercedes-Benz.

       162.      Further, on May 10, 2021, the Debtor made two transfers to Mott in the amounts of

$100,000.00 and $150,000.00, respectively, from its account at BBVA ending -2888, which Mott,

Acosta and/or their agents attempted to conceal.




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       163.    Below is an excerpt of the May 2021 bank statement for that account, which was

produced during the Chapter 11 Case and bears bates # TSI000138:




       164.    Below is an excerpt from the same May 2021 bank statement without the redaction:




       165.    Once again, this appears to have been a deliberate attempt to conceal transfers made

by the Debtor, this time to Mott.

       166.    In the Debtor’s monthly transaction report, the May 10, 2021 transfers are listed as

payments to “subcontractor,” not to Mott.

       167.    Notably, the May 10, 2021 transfers to Mott listed above were made within one

year prior to the Petition Date. However, the Statement of Financial Affairs, which Mott signed



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under penalty of perjury, does not list any transfers to Mott during the year prior to the Petition

Date. Below is an excerpt from the Debtor’s Statement of Financial Affairs:




        168.    On September 21, 2020, the Debtor transferred the sum of $1,000,000.00 from its

account at TD Bank ending -305311 to another bank account at TD Bank ending -2851. The

account ending -2851 belongs to Defendant TSI Education. TSI Education’s stated corporate

purposes is the “education of TSI employee children”. TSI Education’s officers and/or directors

include Defendants BS and JS, close family members of Mott. As with the other concealed

transfers, Mott and Acosta did not produce to the Trustee any documents evidencing a legitimate



11
  As discussed in the next section below, this TD Bank account ending -3053 was not disclosed on the Debtor’s
bankruptcy schedules and statements, nor was it disclosed by Mott and Acosta to the Trustee.


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business purpose for this $1 million transfer to TSI Education for the benefit of Mott, BS and JS.

And, as noted above, the Debtor had no employees.

       169.    On May 24, 2021, Mott closed the Debtor’s bank accounts at TD Bank and

withdrew the sum of (i) $1,822,336.37 from the Debtor’s account ending -3053 and

(ii) $470,583.01 from the Debtor’s account at TD Bank ending -3152.

       170.    Also on May 24, 2021, the sum of (i) $1,822,516.11 was deposited into a new

account at TD Bank ending -4229 and (ii) $470,583.01 was deposited into a new account at TD

Bank ending -4221.

       171.    The TD Bank accounts ending -4229 and -4211 were in the name of Defendant TSI

Southeast. At the time, TSI Southeast listed the same mailing address as the Debtor. In addition,

according to the Secretary of State of the State of Florida, Mott is the Manager of TSI Southeast.

       172.    Notably, the transfers of nearly $2.3 million of the Debtor’s cash at TD Bank to

new accounts in the name of TSI Southeast occurred on the eve of trial in the Florida Litigation.

       173.    The transfers of nearly $2.3 million of the Debtor’s cash to TSI Southeast was not

disclosed on the Debtor’s Statement of Financial Affairs.

       174.    On or about November 12, 2021, TSI Southeast’s accounts at TD Bank ending

-4229 and -4211 were closed and the remaining funds were withdrawn. The Trustee is continuing

to investigate and to trace the Debtor’s funds.

       175.    These withdrawals from the TSI Southeast bank accounts occurred while GPDEV

and Simons were attempting to collect on their judgments and just weeks before the Petition Date.

I.     Undisclosed Bank Account

       176.    Mott and Acosta have failed to properly disclose the Debtor’s bank accounts.




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       177.    For example, on July 18, 2019, Mott withdrew the sum of $2,500,000.00 from TSI’s

account at BBVA ending -2888 in the form of a cashier’s check.

       178.    The next day, July 19, 2019, the cashier’s check in the amount of $2,500,000.00

was deposited into an account at TD Bank ending -3053.

       179.    This account at TD Bank was not disclosed in the Florida Litigation. It was not

disclosed on the Debtor’s bankruptcy schedules. Mott and Acosta have failed to produce any bank

statements for this account, nor have they produced any monthly transaction reports for this

account. Plainly, Mott and Acosta do not want the Trustee and creditors to know how the funds

deposited into this account were used.

       180.    Similarly, Mott and Acosta failed to disclose the existence of any bank accounts at

TD Bank, including the Debtor’s accounts ending -4229 and -4211, into which Mott transferred

nearly $2.3 million of the Debtor’s funds, which funds were thereafter moved and concealed in

TSI Southeast accounts. Again, none of this was disclosed on the Debtor’s Statement of Financial

Affairs, which Mott signed under penalty of perjury.

       181.    Because Mott and Acosta have failed and refused to cooperate with the Trustee’s

investigation, as of the filing of this Complaint, the Trustee has been unable to trace various

prepetition transfers made by the Debtor, including the transfers discussed above. The Trustee

reserves the right to amend this Complaint based upon information obtained in discovery.

J.     Mott and Acosta Abuse the Debtor’s Corporate Form to
       Conceal Their Fraudulent Scheme

       182.    As set forth above, at all times relevant hereto, Mott and Acosta were the Managers

and the only two members of the Debtor’s Management Committee.

       183.    In furtherance of their fraudulent scheme, Mott and Acosta intentionally

mismanaged or were grossly negligent in mismanaging the Debtor’s business and financial affairs



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in a manner that enriched themselves and the other Defendants at the expense of the Debtor’s

Estate and its creditors.

        184.    For example, Mott and Acosta each failed to maintain and preserve the Debtor’s

assets and records, including allowing the Debtor’s records to be maintained on a single laptop

computer that was damaged or intentionally altered or modified to a point that the Debtor’s records

could not be recovered.

        185.    Mott and Acosta each made, or allowed to be made, significant transfers of the

Debtor’s money and property to or for the benefit of themselves or the other Defendants, each of

whom is an affiliate of Mott or Acosta. Among other things:

                a.      The Fraudulent Transfers to or for the benefit of Mott, Acosta, and/or
                        another Defendants were not properly authorized, documented, or reported.

                b.      Acosta abdicated his fiduciary responsibilities and effectively gave Mott
                        unfettered control of the Debtor’s funds with grossly inadequate oversight.

                c.      Mott engaged in numerous acts of self-dealing, including by causing the
                        Debtor to fund the acquisition or improvement of the Real Properties.

                d.      Mott issued checks, withdrawals, and/or wire transfers without the proper
                        authorization or notice.

                e.      Mott caused the Debtor to enter into transactions with its Managers,
                        Members and/or their affiliates without proper authorization.

                f.      Mott and Acosta each received unlawful distributions as members of the
                        Debtor at a time when they each knew or should have known the Debtor’s
                        liabilities exceeded the fair value of the Debtor’s assets.

                g.      Mott and Acosta caused or allowed the Debtor’s funds to be commingled
                        with the funds of other persons or entities.

                h.      Mott failed to properly categorize or record the cash distributions made to
                        the Member Defendants.

                i.      Mott recorded certain transfers to the Member Defendants as “K-1”
                        distributions. However, as discussed below, the Debtor did not file tax
                        returns and these alleged “K-1” distributions were improper.




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               j.     Mott and/or Acosta caused the Debtor to make transfers for automobiles,
                      credit cards, and/or other personal expenses of one or more of the
                      Defendants.

               k.     Mott also failed to prepare any calculations of the Debtor’s net cash flow or
                      any other measure of profitability necessary to appropriately evaluate and
                      consider making so-called “Profit Distributions” to the Member
                      Defendants.

               l.     In fact, it appears no reporting was prepared to evaluate the appropriateness
                      of the distributions to the Member Defendants, the financial condition of
                      the Debtor’s business, or the impact of such distributions on the Debtor’s
                      ability to meet its obligations to creditors.

       186.    Mott and Acosta each failed to comply with the most basic principles of corporate

governance and internal controls. Among other things:

               a.     Mott and Acosta failed to hold meetings of the Management Committee.

               b.     Acosta failed to maintain minutes of any such Management Committee
                      meetings that may have been held.

               c.     Mott and Acosta failed to conduct or document votes, corporate resolutions,
                      or written consents.

               d.     Mott and Acosta failed to keep, or cause to be kept, accurate, complete and
                      property books, records and accounts pertaining to the Debtor’s affairs.
                      Even the most basic documentation was not properly prepared or kept,
                      including without limitation monthly bank reconciliations, supporting
                      documentation for payments by the Debtor (e.g., bank statements, cancelled
                      checks, wire advices, calculations, invoices, contracts, expense
                      reimbursements), or documentation relating to accounts receivable.

               e.     Mott and Acosta failed to prepare, or cause to be prepared, monthly,
                      quarterly, and annual financial reports.

               f.     Mott and Acosta failed to establish appropriate internal controls to mitigate
                      against the misappropriation of the Debtor’s funds.

               g.     Mott and Acosta failed to ensure that the Debtor’s tax returns were properly
                      prepared and filed.

               h.     Mott, the Tax Matters Member, misrepresented that the 2018 and 2019 tax
                      returns had been filed. In fact, the Debtor did not file returns for six tax
                      years.




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               i.      Mott also failed to calculate the Debtor’s estimated tax liability for purposes
                       of making the so-called “Tax Distributions” to the Member Defendants.

       187.    During the tax years 2017 through 2019, in particular, the Debtor earned significant

taxable income. Thus, if the Debtor had properly prepared and filed its federal tax returns, those

returns would likely have reported significant taxable income that would have passed-through to

Mott, Acosta, and the other Member Defendants to be reported on their own individual income tax

returns. As a result, the Debtor’s failure to file tax returns for several years in a row concealed and

furthered the fraudulent scheme.

       188.    In addition, Acosta, as the Debtor’s corporate representative in the Florida

Litigation, grossly mismanaged that litigation by, among other things, allowing the Debtor or its

representatives to produce and file false or inaccurate documents and causing the Debtor to incur

substantial unnecessary and avoidable legal fees, costs, and expenses.

       189.    Similarly, Mott and Acosta grossly mismanaged the Debtor’s Chapter 11 Case by,

among other things, providing false or inaccurate testimony, allowing the Debtor or its

representatives to produce and file false or inaccurate documents, and causing the Debtor to incur

substantial unnecessary and avoidable fees, costs, and expenses.

       190.    Further, upon information and belief, Mott exercised dominion and control over

Defendants Addy Road, Brent Road and TSI Southeast, shell companies of which Mott was the

Manager. It appears that Addy Road, Brent Road, and TSI Southeast had no material source of

revenue other than the Fraudulent Transfers each received from TSI, had no legal or independent

significance other than as extensions of Mott, and were used by Mott to syphon off millions of

dollars of the Debtor’s money. Similarly, Mott exercised control over TSI Education’s bank

accounts. Mott and others abused the corporate forms of Defendants Addy Road, Brent Road, TSI




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Education, and TSI Southeast and used these entities to funnel money and other assets to or for the

benefit of herself or one or more of the other Defendants.

         191.     Upon further information and belief, Acosta exercised dominion and control over

Defendant TSI Gulf Coast, an entity of which Acosta is the Manager and member, and used TSI

Gulf Coast to siphon off more than $766,000 of the Debtor’s funds to or for Acosta’s benefit.12

K.       Badges of Fraud and Facts Supporting a Direct Inference of Fraudulent Intent

         192.     There are numerous badges of fraud and facts supporting a direct inference of actual

intent to hinder, delay, and defraud the Debtor’s Estate and its creditors. For example, and without

limitation:

                  a.       The Fraudulent Transfers were made to or for the benefit of insiders of the
                           Debtor.

                  b.       The Fraudulent Transfers were concealed. As a private company, the
                           Debtor’s transfers and transactions with its insiders were not known to
                           creditors. Moreover, during the Florida Litigation and during the Chapter
                           11 Case, Mott and Acosta, or their agents acting at their direction and on
                           their behalf, concealed certain Fraudulent Transfers.

                  c.       The vast majority of the Fraudulent Transfers were made after demand had
                           been made or the Debtor had been sued in the Florida Litigation.

                  d.       The Fraudulent Transfers, in the aggregate, were substantially all of the
                           Debtor’s assets. Among other things, the Debtor received more than $37
                           million from FEMA between 2017 and 2019 and failed to pay its creditors,
                           but entered bankruptcy with only approximately $164,000 in the bank.

                  e.       Mott and Acosta used the Debtor to move and conceal assets, including
                           through the use of alleged distribution payments to themselves and the other
                           Member Defendants. Mott also moved and concealed assets through the
                           use of affiliated entities—Addy Road, Brent Road, TSI Education, and TSI
                           Southeast—and through the use of the transactions to acquire and improve
                           the Real Properties.

                  f.       The Debtor did not receive any value, let alone reasonably equivalent value,
                           for any of the Fraudulent Transfers.


12
  There may well be other shell entities that Mott and/or other Defendants have used to conceal assets and to frustrate
efforts by the Trustee and creditors to uncover the estate’s assets. The Trustee’s investigation remains ongoing.


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       193.    Mott and Acosta, or their agents, engaged in other over acts of fraud or dishonesty,

including without limitation the following:

               a.     wrongfully withholding documents and information in violation of the
                      Florida District Court’s orders and this Court’s orders;

               b.     producing fabricated or misleading documents regarding, among other
                      things, the payments TSI received from FEMA for procurement of bottled
                      water and the expenses incurred in connection therewith;

               c.     making, allowing to be made, or receiving transfers of property of the
                      Debtor, which transfers were made with intent to hinder, delay, or defraud
                      the Debtor’s creditors; and

               d.     making false, misleading, or evasive statements, including under oath.

       194.    Other indicia of fraud in this case include, without limitation, the following:

               a.     Mott signed under penalty of perjury the Schedules and Statement, which
                      contain numerous inaccurate statements or intentional omissions;

               b.     Mott falsely stated under oath that the Debtor had filed its 2018 and 2019
                      tax returns, relying on undated tax returns that bear Mott’s signature; and

               c.     Mott and Acosta have failed and refused to turn over books and records and
                      continue to obstruct the Trustee’s investigation.

       195.    As further evidence of fraudulent intent, Addy Road and Brent Road—two limited

liability companies owned or controlled by Mott—received millions of dollars in transfers of the

Debtor’s funds for no consideration. Mott then used Addy Road to acquire title to the Bethany

Beach Property for herself and used Brent Road to acquire the Bethesda Property.

       196.    Then, JS, purporting to act as the sole member of Brent Road, signed the Articles

of Dissolution for Brent Road and transferred title to the Bethesda Property to herself and her

husband, BS, for no consideration to the Debtor.

       197.    Similarly, the Debtor funneled $1 million to Defendant TSI Education, an entity of

which Defendants BS and JS were officers and/or directors and for which Mott and JS had bank

account signing authority.



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         198.     Moreover, Mott utilized various accounts at TD Bank and Defendant TSI Southeast

(an entity of which she is the Manager) to move and conceal approximately $2.3 million of the

Debtor’s cash in the leadup to the Florida Litigation and this bankruptcy case.

         199.     In addition, Acosta used Defendant TSI Gulf Coast to siphon off more than

$766,000 of the Debtor’s funds to or for Acosta’s benefit.13

         200.     The fraud, breaches of fiduciary duty, and other misconduct by Mott, Acosta, and

others, which were aided and abetted by the other Defendants, were part of one fraudulent scheme

that began in or about 2017 and continued after the Petition Date, all to enrich the Defendants at

the expense of the Debtor’s Estate and its creditors, including the Internal Revenue Service.

                    FIRST COUNT – ACTUAL FRAUDULENT TRANSFERS
                      Pursuant to 11 U.S.C. § 544; and Applicable State Law,
                  Including 6 Del. Code § 1304(a)(1) and Fla. Stat. § 726.105(1)(a)
                                      Against All Defendants

         201.     The allegations set forth in the previous paragraphs are incorporated herein by

reference as if set forth at length.

         202.     A transfer made or obligation incurred by a debtor is fraudulent as to a creditor,

whether the creditor’s claim arose before or after the transfer was made or the obligation was

incurred, if the debtor made the transfer or incurred the obligation, among other things, with actual

intent to hinder, delay or defraud any creditor of the debtor.

         203.     As set forth in detail in this Complaint, the Trustee seeks to avoid the Fraudulent

Transfers set forth on Exhibit A and to recover the value thereof from the Defendants.

         204.     Each of the Fraudulent Transfers was a “transfer” within the meaning of 6 Del.

Code § 1301(12), Fla. Stat. § 726.102 (14), and 11 U.S.C. § 101(54).



13
  There may well be other shell entities that Mott and/or other Defendants have used to conceal assets and to frustrate
efforts by the Trustee and creditors to uncover the estate’s assets. The Trustee’s investigation remains ongoing.


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       205.      Each of the Fraudulent Transfers was a transfer of property, or of an interest in

property, of the Debtor to and/or for the benefit of the Defendants.

       206.      Each of the Fraudulent Transfers was made on or within four years prior to the

Petition Date.

       207.      Each of the Fraudulent Transfers was made with actual intent to hinder, delay, or

defraud the Debtor’s Estate and its creditors. As set forth in detail in this Complaint, there are

numerous badges and indicia of fraud.

       208.      Among other things, each of the Fraudulent Transfers was made as part of a scheme

to defraud the Debtor’s Estate and its creditors by systematically looting the Debtor’s assets for

the benefit of the Defendants and to actively conceal and further that fraudulent scheme.

       209.      None of the Defendants took any of the Fraudulent Transfers in good faith.

       210.      The Debtor did not receive a reasonably equivalent value for any of the Fraudulent

Transfers.

       211.      At all times relevant hereto, the Debtor had at least one general unsecured creditor

(the “Predicate Creditor”) holding an allowable claim who, but for the Debtor’s bankruptcy filing,

would have standing to bring claims to avoid and recover the Fraudulent Transfers. The Predicate

Creditors include, without limitation, GPDEV, Simons, Bering Straits, and the Internal Revenue

Service.

       212.      Therefore, the Fraudulent Transfers are avoidable pursuant to 11 U.S.C. § 544 and

applicable state law, including without limitation 6 Del. Code § 1304(a)(1) and Fla. Stat.

§ 726.105(1)(a).




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               SECOND COUNT – ACTUAL FRAUDULENT TRANSFERS
                           Pursuant to 11 U.S.C. § 548(a)(1)(A)
       Against Defendants Deborah Evans Mott, Steven M. Acosta, Christopher Mott,
       John S. Maciorowski, Addy Road LLC, Benjamin P. Smith, Jessica M. Smith,
                TSI Gulf Coast, LLC, TSI Education & Training, Inc., and
                       Team Systems International Southeast LLC

        213.    The allegations set forth in the previous paragraphs are incorporated herein by

reference as if set forth at length.

        214.    A trustee may avoid any transfer of an interest of the debtor in property, or any

obligation incurred by the debtor, that was made or incurred on or within two years before the

petition date with actual intent to hinder, delay, or defraud any entity to which the debtor was or

became indebted on or after the date such transfer was made or such obligation was incurred.

        215.    As set forth in detail in this Complaint, the Trustee seeks to avoid the transfers listed

on Exhibit A to the Complaint that were made within two (2) years prior to the Petition Date

(collectively, the “Two Year Transfers”) and to recover the value thereof from Defendants

Deborah Evans Mott, Steven M. Acosta, Christopher Mott, John S. Maciorowski, Addy Road

LLC, Benjamin P. Smith, Jessica M. Smith, TSI Gulf Coast, LLC, TSI Education & Training, Inc.,

and Team Systems International Southeast LLC.

        216.    Each of the Two Year Transfers was a “transfer” within the meaning of 11 U.S.C.

§ 101(54).

        217.    Each of the Two Year Transfers was a transfer of property, or of an interest in

property, of the Debtor to and/or for the benefit of the above-named Defendants.

        218.    Each of the Two Year Transfers was made with actual intent to hinder, delay, or

defraud the Debtor’s Estate and its creditors. As set forth in detail above, there are numerous

badges and indicia of fraud.




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         219.    None of the above-named Defendants took any of the Fraudulent Transfers in good

faith.

         220.    The Debtor did not receive value for any of the Fraudulent Transfers.

         221.    Therefore, the Two Year Transfers are avoidable pursuant to 11 U.S.C.

§ 548(a)(1)(A).

             THIRD COUNT – CONSTRUCTIVE FRAUDULENT TRANSFERS
                    Pursuant to 11 U.S.C. § 544 and Applicable State Law,
                     Including 6 Del. Code § 1305 and Fla. Stat. § 726.106
         Against Defendants Deborah Evans Mott, Steven M. Acosta, Christopher Mott,
         John S. Maciorowski, Addy Road LLC, Benjamin P. Smith, Jessica M. Smith,
                  TSI Gulf Coast, LLC, TSI Education & Training, Inc., and
                         Team Systems International Southeast LLC

         222.    The allegations set forth in the previous paragraphs are incorporated herein by

reference as if set forth at length.

         223.    A transfer made or obligation incurred by a debtor is fraudulent as to a creditor

whose claim arose before the transfer was made or the obligation was incurred if the debtor made

the transfer or incurred the obligation without receiving a reasonably equivalent value in exchange

for the transfer or obligation and the debtor was insolvent at that time or the debtor became

insolvent as a result of the transfer or obligation.

         224.    As set forth in detail in this Complaint, the Trustee seeks to avoid the transfers listed

on Exhibit A to the Complaint that were made in or after July 2019 (collectively, the “Constructive

Fraudulent Transfers”) and to recover the value thereof from Defendants Deborah Evans Mott,

Steven M. Acosta, Christopher Mott, John S. Maciorowski, Addy Road LLC, Benjamin P. Smith,

Jessica M. Smith, TSI Gulf Coast, LLC, TSI Education & Training, Inc., and Team Systems

International Southeast LLC.




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       225.    Each of the Constructive Fraudulent Transfers was a “transfer” within the meaning

of 6 Del. Code § 1301(12), Fla. Stat. § 726.102 (14), and 11 U.S.C. § 101(54).

       226.    Each of the Constructive Fraudulent Transfers was a transfer of property, or of an

interest in property, of the Debtor to and/or for the benefit of the Defendants.

       227.    Each of the Constructive Fraudulent Transfers was made at a time when the Debtor

was insolvent or was rendered insolvent by such transfer. As discussed in this Complaint, the

Debtor was insolvent by no later than July 2019.

       228.    The Debtor did not receive a reasonably equivalent value in exchange for any of

the Constructive Fraudulent Transfers. As discussed in this Complaint, the Debtor’s books and

records produced to the Trustee do not include any documentation evidencing that a legitimate

business purpose existed for any of the Constructive Fraudulent Transfers. For example, and

without limitation:

               a.      The Debtor did not receive a reasonably equivalent value for any purported
                       distributions made to the members of TSI (Defendants Mott, Acosta, CM,
                       and JM), which in any event were not properly accounted for or made.
                       Because the Constructive Fraudulent Transfers were made at or after the
                       time the Debtor became insolvent, they were not lawful payments,
                       distributions, or dividends.

               b.      The Debtor did not receive a reasonably equivalent value for the acquisition
                       or transfer of title to certain of the Real Properties, which were acquired
                       and/or improved using the Debtor’s money but which were titled in the
                       name(s) of certain of the Defendants and for which the Debtor received no
                       consideration.

               c.      The Debtor did not receive a reasonably equivalent value for the $3 million
                       and $50,000 transfers made to Addy Road on February 27, 2020, which
                       transfers were not recorded or accounted for and which were actively
                       concealed, and for which the Debtor received no consideration.

               d.      The Debtor did not receive a reasonably equivalent value for the $1 million
                       transferred on September 21, 2020 to TSI Education for the benefit of
                       Defendants BS and JS (and possibly others) and for which the Debtor
                       received no consideration.



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                e.      The Debtor did not receive a reasonably equivalent value for the nearly $2.3
                        million that was transferred on May 24, 2021 to TSI Southeast for the
                        benefit of Defendant Mott and for which the Debtor received no
                        consideration.

        229.    None of the above-named Defendants took any of the Constructive Fraudulent

Transfers in good faith.

        230.    As set forth above, at all times relevant hereto, the Debtor had at least one general

unsecured creditor, including without limitation the Predicate Creditors, holding an allowable

claim who, but for the Debtor’s bankruptcy filing, would have standing to bring claims to avoid

and recover the Constructive Fraudulent Transfers.

        231.    Therefore, the Fraudulent Transfers are avoidable pursuant to 11 U.S.C. § 544 and

applicable state law, including without limitation 6 Del. Code § 1305 and Fla. Stat. § 726.106.

          FOURTH COUNT – CONSTRUCTIVE FRAUDULENT TRANSFERS
                           Pursuant to 11 U.S.C. § 548(a)(1)(B)
       Against Defendants Deborah Evans Mott, Steven M. Acosta, Christopher Mott,
       John S. Maciorowski, Addy Road LLC, Benjamin P. Smith, Jessica M. Smith,
                TSI Gulf Coast, LLC, TSI Education & Training, Inc., and
                       Team Systems International Southeast LLC

        232.    The allegations set forth in the previous paragraphs are incorporated herein by

reference as if set forth at length.

        233.    A trustee may avoid any transfer of an interest of the debtor in property, or any

obligation incurred by the debtor, that was made or incurred on or within two years before the

petition date if the debtor received less than a reasonably equivalent value in exchange for such

transfer or obligation; and, inter alia, the debtor was insolvent on the date that such transfer was

made or such obligation was incurred, or became insolvent as a result of such transfer or obligation.

        234.    As set forth above. the Trustee seeks to avoid the Two Year Transfers listed on

Exhibit A to the Complaint and to recover the value thereof from Defendants Deborah Evans

Mott, Steven M. Acosta, Christopher Mott, John S. Maciorowski, Addy Road LLC, Benjamin P.


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Smith, Jessica M. Smith, TSI Gulf Coast, LLC, TSI Education & Training, Inc., Team Systems

International Southeast LLC.

       235.    Each of the Two Year Transfers was a “transfer” within the meaning of 11 U.S.C.

§ 101(54).

       236.    Each of the Two Year Transfers was a transfer of property, or of an interest in

property, of the Debtor to and/or for the benefit of the above-named Defendants.

       237.    Each of the Two Year Transfers was made at a time when the Debtor was insolvent

or was rendered insolvent by such transfer. As discussed in this Complaint, the Debtor was

insolvent by no later than July 2019, which was more than two years prior to the Petition Date.

       238.    The Debtor did not receive a reasonably equivalent value in exchange for any of

the Two Year Transfers. As discussed in this Complaint, the Debtor’s books and records produced

to the Trustee do not include any documentation evidencing that a legitimate business purpose

existed for any of the Two Year Transfers. For example, and without limitation:

               a.     The Debtor did not receive a reasonably equivalent value for any purported
                      distributions made to the members of TSI (Defendants Mott, Acosta, CM,
                      and JM), which in any event were not properly accounted for or made.
                      Because the Constructive Fraudulent Transfers were made at or after the
                      time the Debtor became insolvent, they were not lawful payments,
                      distributions, or dividends.

               b.     The Debtor did not receive a reasonably equivalent value for the acquisition
                      or transfer of title to certain of the Real Properties, which were acquired
                      and/or improved using the Debtor’s money but which were titled in the
                      name(s) of certain of the Defendants and for which the Debtor received no
                      consideration.

               c.     The Debtor did not receive a reasonably equivalent value for the $3 million
                      and $50,000 transfers made to Addy Road on February 27, 2020, which
                      transfers were not recorded or accounted for and which were actively
                      concealed, and for which the Debtor received no consideration.

               d.     The Debtor did not receive a reasonably equivalent value for the $1 million
                      transferred on September 21, 2020 to TSI Education for the benefit of



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                        Defendants BS and JS (and possibly others) and for which the Debtor
                        received no consideration.

                 e.     The Debtor did not receive a reasonably equivalent value for the nearly $2.3
                        million that was transferred on May 24, 2021 to TSI Southeast for the
                        benefit of Defendant Mott and for which the Debtor received no
                        consideration.

         239.    None of the above-named Defendants took any of the Two Year Transfers in good

faith.

         240.    As set forth above, at all times relevant hereto, the Debtor had at least one general

unsecured creditor, including without limitation the Predicate Creditors, holding an allowable

claim who, but for the Debtor’s bankruptcy filing, would have standing to bring claims to avoid

and recover the Two Year Transfers.

         241.    Therefore, the Two Year Transfers are avoidable pursuant to 11 U.S.C.

§ 548(a)(1)(B).

                FIFTH COUNT – RECOVERY OF AVOIDABLE TRANSFERS
                               Against All Defendants

         242.    The allegations set forth in the previous paragraphs are incorporated herein by

reference as if set forth at length.

         243.    As set forth in detail in this Complaint, including on Exhibit A hereto, the Debtor

made one or more Fraudulent Transfers to or for the benefit of each Defendant.

         244.    The Defendants are the initial transferees, or the immediate, mediate, or subsequent

transferee, of one or more of the Fraudulent Transfers.

         245.    The Trustee may recover, and intends to recover, the Fraudulent Transfers and

benefits therefrom from any and all mediate, intermediate, or subsequent transferees.




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        246.    Accordingly, the Trustee is entitled to avoid and recover the Fraudulent Transfers

from the Defendants pursuant to pursuant to 11 U.S.C. § 550 and applicable law, including without

limitation 6 Del. Code § 1307 and Fla. Stat. § 726.108.

                SIXTH COUNT – BREACH OF FIDUCIARY DUTY CLAIMS
                 Against Defendants Deborah Evans Mott and Steve M. Acosta

        247.    The allegations set forth in the previous paragraphs are incorporated herein by

reference as if set forth at length.

        248.    As set forth in detail in this Complaint, Mott and Acosta each were a Manager, a

member of the Management Committee, and a fiduciary of the Debtor.

        249.    Mott and Acosta owed the Debtor fiduciary duties of care, loyalty, and good faith.

        250.    The duty of loyalty obligated Mott and Acosta each to commit themselves to the

business of the Debtor with the attitude of promoting the interests of the Debtor and not

themselves.

        251.    The duty of loyalty is breached, inter alia: (a) when a fiduciary fails to act in the

face of a known duty to act, thereby demonstrating a conscious disregard for their responsibilities;

(b) when a fiduciary “abdicates” their fiduciary responsibilities; (c) when a fiduciary acts in bad

faith; and/or (d) when a fiduciary engages in self-dealing.

        252.    The duty of care is breached, inter alia: (a) when a fiduciary engages in an irrational

decision-making process; and (b) when the conduct of a fiduciary rises to the level of “gross

negligence.”

        253.    Without limiting the foregoing, Mott breached her fiduciary duties to the Debtor

by, among other things:

                a.      making, or allowing to be made, significant unauthorized or improper
                        transfers;




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 b.   issuing checks, withdrawals, and/or wire transfers without the proper
      authorization or notice;

 c.   causing the Debtor to enter into transactions with its Managers, Members
      and/or their affiliates without proper authorization;

 d.   engaging in numerous acts of self-dealing, including in connection with the
      Real Properties;

 e.   receiving unlawful distributions as a member of the Debtor at a time Mott
      knew or should have known the Debtor’s liabilities exceeded the fair value
      of the Debtor’s assets;

 f.   causing or allowing the Debtor’s funds to be commingled with the funds of
      other persons or entities;

 g.   using or allowing to be used the Debtor’s funds to pay for automobiles and
      personal expenses of herself and/or other Defendants;

 h.   failing to maintain and preserve the Debtor’s assets and records, including
      among other things the laptop computer;

 i.   failing to properly categorize or record the cash distributions made to
      herself, to Acosta, and to the Member Defendants;

 j.   failing to hold meetings of the Management Committee;

 k.   failing to conduct or maintain written records of votes, corporate
      resolutions, or written consents;

 l.   failing to keep, or cause to be kept, accurate, complete and property books,
      records and accounts pertaining to the Debtor’s affairs;

 m.   failing to prepare, or cause to be prepared, monthly, quarterly, and annual
      financial reports;

 n.   failing to establish appropriate internal controls to mitigate against the
      misappropriation of the Debtor’s funds;

 o.   failing to ensure that the Debtor’s tax returns were properly prepared and
      filed for multiple tax years and then misrepresenting that the 2018 and 2019
      tax returns had been filed;

 p.   grossly mismanaging the Debtor’s Chapter 11 Case; and

 q.   engaging in other acts of fraud, gross negligence, or other material breaches
      of her fiduciary duties.




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       254.    Without limiting the foregoing, Acosta breached his fiduciary duties to the Debtor

by, among other things:

               a.     making, or allowing to be made, significant unauthorized or improper
                      transfers;

               b.     abdicating his fiduciary responsibilities and effectively gave Mott
                      unfettered control of the Debtor’s funds with grossly inadequate oversight;

               c.     receiving unlawful distributions as a member of the Debtor at a time Acosta
                      knew or should have known the Debtor’s liabilities exceeded the fair value
                      of the Debtor’s assets;

               d.     using or allowing to be used the Debtor’s funds to pay for automobiles and
                      personal expenses of himself and/or other Defendants;

               e.     failing to maintain and preserve the Debtor’s assets and records, including
                      among other things the laptop computer;

               f.     failing to hold meetings of the Management Committee and/or failing to
                      maintain minutes of any such meetings;

               g.     failing to conduct or maintain written records of votes, corporate
                      resolutions, or written consents;

               h.     failing to keep, or cause to be kept, accurate, complete and property books,
                      records and accounts pertaining to the Debtor’s affairs;

               i.     failing to prepare, or cause to be prepared, monthly, quarterly, and annual
                      financial reports;

               j.     failing to establish appropriate internal controls to mitigate against the
                      misappropriation of the Debtor’s funds;

               k.     failing to ensure that the Debtor’s tax returns were properly prepared, even
                      though Acosta testified during the March Hearing that it would essentially
                      be impossible for TSI to conduct business as a government contractor and
                      not file tax returns;

               l.     grossly mismanaging the Florida litigation and the Debtor’s Chapter 11
                      Case; and

               m.     engaging in other acts of fraud, gross negligence, or other material breaches
                      of his fiduciary duties.




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        255.     The conduct of Mott and Acosta, as alleged in this Complaint, was intentional,

reckless, and/or grossly negligent.

        256.     At all times relevant hereto, Mott and Acosta each engaged in self-dealing,

prioritizing their own interests and the interests of their affiliates over the interests of the Debtor.

        257.     Accordingly, the business judgment rule does not apply and Mott and Acosta are

subject to the entire fairness standard.

        258.     Moreover, any applicable statute of limitations period was tolled because, at all

times relevant hereto, Mott and Acosta were the Managers and the only members of the

Management Committee, and the Debtor’s resolutions and financial records were not available to

creditors, including but not limited to the Internal Revenue Service. Mott, in particular, exercised

dominion and control over the Debtor’s financial affairs and Acosta abdicated his fiduciary duties

and acquiesced in Mott’s dominion and control. As such, prior to the Petition Date, Mott and

Acosta were the only individuals in a position to or with the information necessary to sue on behalf

of the Debtor.

        259.     As a result of the many breaches of fiduciary duties by Mott and Acosta as set forth

herein, the Debtor has suffered damages in an amount to be determined at trial.

 SEVENTH COUNT – AIDING AND ABETTING BREACHES OF FIDUCIARY DUTY
                        Against All Defendants

        260.     The allegations set forth in the previous paragraphs are incorporated herein by

reference as if set forth at length.

        261.     As set forth in detail in this Complaint, at all times relevant hereto, Mott and Acosta

each was a Manager and member of the Management Committee of the Debtor and owed the

Debtor fiduciary duties of care, loyalty and good faith.




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       262.    As also set forth in detail in this Complaint, Mott and Acosta each repeatedly

breached his or her fiduciary duties of care, loyalty and good faith owed to the Debtor.

       263.    Each of the Defendants aided and abetted these breaches of fiduciary duty.

       264.    Each of the Defendants had knowledge that Mott’s and Acosta’s conduct was a

breach of his or her fiduciary duties owed to the Debtor.

       265.    Each of the Defendants substantially assisted and/or encouraged Mott and Acosta

to breach his or her fiduciary duties owed to the Debtor.

       266.    Mott aided and abetted Acosta’s breaches of fiduciary duty by, among other things,

(i) causing the Debtor to make significant unauthorized or improper transfers to or for the benefit

of Acosta or one or more entities Acosta owned or controlled; (ii) failing to establish and

implement proper internal controls or to follow basic corporate governance and recordkeeping,

thereby concealing Acosta’s breaches; (iii) failing to prepare and file tax returns for the Debtor,

which would have reported significant taxable income passed-through to Acosta, thereby

concealing Acosta’s breaches; (iv) failing to take any steps in response to Acosta’s breaches of

fiduciary duty; and (v) numerous other acts and omissions as alleged in this Complaint.

       267.    Acosta aided and abetted Mott’s breaches of fiduciary duty by, among other things,

(i) giving Mott unfettered control of the Debtor’s funds and property and acquiescing in or

allowing the Debtor to make significant unauthorized or improper transfers to or for the benefit of

Mott or one or entities Mott owned or controlled; (ii) failing to establish and implement proper

internal controls or to follow basic corporate governance and recordkeeping, thereby concealing

Mott’s breaches; (iii) failing to take any steps in response to Mott’s breaches of fiduciary duty;

and (iv) numerous other acts and omissions as alleged in this Complaint.




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        268.    CM aided and abetted Mott’s and Acosta’s breaches of fiduciary duty by, among

other things, (i) accepting significant unauthorized or improper transfers as part of the fraudulent

scheme; (ii) failing to take any action to ensure that the Debtor’s business and financial affairs

were properly managed; and (iii) numerous other acts and omissions as alleged in this Complaint.

        269.    JM aided and abetted Mott’s and Acosta’s breaches of fiduciary duty by, among

other things, (i) accepting significant unauthorized or improper transfers as part of the fraudulent

scheme; (ii) failing to take any action to ensure that the Debtor’s business and financial affairs

were properly managed; and (iii) numerous other acts and omissions as alleged in this Complaint.

        270.    In addition, CM and JM, as Members of the Debtor, could have examined the

Debtor’s books and records and taken steps in response to Mott’s and Acosta’s gross

mismanagement, blatant self-dealing, and other breaches of their fiduciary duties. Instead, CM

and JM did nothing to prevent the continuing harm to the Debtor and accepted their share of the

fruits of the fraud.

        271.    Addy Road is a limited liability entity that is owned and controlled by Mott. Addy

Road aided and abetted Mott’s breaches of fiduciary duty by, among other things, (i) accepting

significant unauthorized or improper transfers as part of the fraudulent scheme in the form of the

transfers that paid for the Bethany Beach Property; (ii) being used as an instrumentality of that

fraudulent scheme; and (iii) numerous other acts and omissions as alleged in this Complaint.

        272.    Brent Road is a limited liability entity that was controlled by Mott. Brent Road

aided and abetted Mott’s breaches of fiduciary duty by, among other things, (i) accepting

significant unauthorized or improper transfers as part of the fraudulent scheme; (ii) being used as

an instrumentality of that fraudulent scheme; and (iii) numerous other acts and omissions as

alleged in this Complaint.




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       273.    Benjamin P. Smith aided and abetted Mott’s breaches of fiduciary duty by, among

other things, (i) accepting significant unauthorized or improper transfers as part of the fraudulent

scheme in the form of the transfers that paid for the Brent Road Property; (ii) assisting and causing

others to assist Mott with her fraudulent scheme and breaches of duty, in particular, with respect

to the transfers that paid for the Brent Road Property, for which the Debtor received no

consideration; (iii) purporting to act as an officer and/or director of TSI Education, through which

$1 million of the Debtor’s money was fraudulently transferred and concealed; and (iv) numerous

other acts and omissions as alleged in this Complaint.

       274.    Jessica M. Smith aided and abetted Mott’s breaches of fiduciary duty by, among

other things, (i) accepting significant unauthorized or improper transfers as part of the fraudulent

scheme in the form of the transfers that paid for the Brent Road Property; (ii) assisting and causing

others to assist Mott with her fraudulent scheme and breaches of duty, in particular, with respect

to the transfers that paid for the Brent Road Property, for which the Debtor received no

consideration; (iii) executing a deed to the Bethesda Property on behalf of Brent Road;

(iv) executing and filing Brent Road’s articles of dissolution; (v) purporting to act as an officer

and/or director of TSI Education, through which $1 million of the Debtor’s money was

fraudulently transferred and concealed; and (vi) numerous other acts and omissions as alleged in

this Complaint.

       275.    TSI Gulf Coast is a limited liability entity that is owned and controlled by Acosta.

TSI Gulf Coast aided and abetted Acosta’s breaches of fiduciary duty by, among other things,

(i) accepting significant unauthorized or improper transfers as part of the fraudulent scheme to

enrich Acosta; (ii) being used as an instrumentality of that fraudulent scheme; and (iii) numerous

other acts and omissions as alleged in this Complaint.




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        276.    TSI Education is a Florida corporation whose officers and/or directors consist of

Defendants BS and JS and the Debtor’s former counsel in the Florida Litigation. According to its

Articles of Incorporation, TSI Education was formed for the purpose of the “education of TSI

employee children”. However, as discussed above, TSI had no employees and the only “children”

of TSI’s members were insiders. Further, Mott had signing authority for TSI Education’s bank

account and directed the disbursement of the funds it received from the Debtor. TSI Education

aided and abetted Mott’s breaches of fiduciary duty by, among other things, (i) accepting at least

$1 million in Fraudulent Transfers made by the Debtor to TSI Education for no legitimate business

purpose; (ii) being used as an instrumentality of that fraudulent scheme; and (iii) numerous other

acts and omissions as alleged in this Complaint.

        277.    TSI Southeast is a limited liability entity that is controlled by Mott. TSI Southeast

aided and abetted Mott’s breaches of fiduciary duty by, among other things, (i) accepting

significant unauthorized or improper transfers as part of the fraudulent scheme to enrich Mott;

(ii) being used as an instrumentality of that fraudulent scheme; and (iii) numerous other acts and

omissions as alleged in this Complaint.

        278.    As a result of each Defendant’s aiding and abetting of the breaches of fiduciary

duty by Mott and/or Acosta as set forth herein, the Debtor has suffered damages in an amount to

be determined at trial.

                    EIGHTH COUNT – UNLAWFUL DISTRIBUTIONS
                 Against Defendants Deborah Evans Mott and Steve M. Acosta

        279.    The allegations set forth in the previous paragraphs are incorporated herein by

reference as if set forth at length.

        280.    As set forth in this Complaint, the Debtor’s liabilities exceeded the fair value of its

assets by no later than July 2019.



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       281.    As further set forth in this Complaint, including Exhibit A hereto, between July

2019 and the Petition Date, the Debtor made not less than $1,385,000 in transfers to Mott and not

less than $7,940,623.77 in transfers for the benefit of Mott (collectively, the “Unlawful Mott

Distributions”).

       282.    As further set forth in this Complaint, including Exhibit A hereto, between July

2019 and the Petition Date, the Debtor made not less than $919,290.69 in transfers to Acosta and

not less than $321,500.00 in transfers for the benefit of Acosta (collectively, the “Unlawful Acosta

Distributions” and, together with the Unlawful Mott Distributions, the “Unlawful Distributions”).

       283.    At all times relevant to this count, including without limitation between July 2019

and the Petition Date, Mott and Acosta each was a member of the Debtor.

       284.    In addition, at all times relevant to this count, including without limitation between

July 2019 and the Petition Date, Mott and Acosta each was a Manager of the Debtor and therefore

knew or should have known that all of the liabilities of the Debtor exceeded the fair value of all of

the assets of the Debtor and otherwise were unlawful.

       285.    The Unlawful Distributions were not reasonable compensation for present or past

services and were not reasonable payments made in the ordinary course of business pursuant to a

bona fide retirement plan or other benefits program.

       286.    All of the Unlawful Distributions were received by Mott or Acosta less than three

years prior to the Petition Date.

       287.    Therefore, pursuant to applicable law, including without limitation 6 Del. Code §

18-607, Mott is liable to the Estate for the amount of the Unlawful Mott Distributions and Acosta

is liable to the Estate for the amount of the Unlawful Acosta Distributions.




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 NINTH COUNT – DECLARATORY RELIEF (PIERCING THE CORPORATE VEIL)
           Against Defendants Deborah Evans Mott, Steven M. Acosta,
        Addy Road LLC, Brent Road LLC, TSI Education & Training, Inc.,
                and Team Systems International Southeast LLC

        288.    The allegations set forth in the previous paragraphs are incorporated herein by

reference as if set forth at length.

        289.    As set forth in detail in this Complaint, the corporate form should be disregarded

as between Defendants Mott, Acosta, Addy Road, Brent Road, TSI Education, TSI Southeast and

the Debtor because Mott and/or Acosta ignored corporate boundaries in favor of their own interests

and the interests of the other Defendants over the interests of the Debtor and its creditors, as part

of a scheme to defraud the Debtor’s Estate and its creditors.

        290.    Among other things:

                a.      Mott and Acosta siphoned millions of dollars of the Debtor’s funds to
                        themselves and to the other Defendants, including using the Debtor’s funds
                        to (i) acquire the Real Properties in the name of Mott, her close family
                        members and/or entities, (ii) make unauthorized and improper
                        “distributions” to Mott, Acosta, and the other Member Defendants, (iii) pay
                        unsupported expense reimbursements, and/or (iv) pay personal expenses of
                        themselves or one or more of the other Defendants.

                b.      Mott and Acosta failed to observe corporate formalities between the Debtor,
                        on the one hand, and themselves and the other Defendants, on the other
                        hand. Among other things, Mott and Acosta failed to hold meetings or
                        maintain minutes, failed to maintain books and records, failed to file tax
                        returns, and commingled the Debtor’s assets.

                c.      Mott and Acosta were the only Managers and members of the Management
                        Committee and exercised dominion and control over the Debtor.

                d.      Upon information and belief, the Debtor had no officers or employees other
                        than Mott, Acosta, and the other Member Defendants.

                e.      The Debtor was undercapitalized relative to its corporate undertakings
                        because of Mott and Acosta diverting the Debtor’s funds to themselves and
                        to the other Defendants.




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                f.      Mott and Acosta used the Debtor’s corporate form as a facade for their
                        individual interests, routinely engaging in unfair transactions that were in
                        violation of the fiduciary duties owed to the Debtor.

                g.      It would be unjust and unfair to allow Mott and Acosta to retain the financial
                        benefits they received through their disregard of the Debtor’s corporate
                        form and interests, while saddling the Debtor’s Estate and its creditors with
                        millions of dollars in claims and other liabilities.

        291.    In short, the Debtor had no legal or independent significance of its own and the

Debtor’s corporate form was a sham and existed for no other purpose than as a vehicle for the

fraudulent scheme perpetrated by Mott, Acosta, and others.

        292.    Further, upon information and belief, Mott also exercised complete dominion and

control over Defendants Addy Road, Brent Road and TSI Southeast, shell companies of which

Mott is or was the sole Manager. Similarly, Mott exercised dominion and control over Defendant

TSI Education, including having signing authority for TSI Education’s bank account and directing

the disbursement of the funds it received from the Debtor. It appears that Addy Road, Brent Road,

TSI Education, and TSI Southeast had no material source of revenue other than the Fraudulent

Transfers each received from TSI, had no legal or independent significance other than as

extensions of Mott, and were used by Mott to syphon off and conceal millions of dollars of the

Debtor’s money.

        293.    Accordingly, the Trustee seeks the entry of a judgment piercing the corporate veil,

declaring that Mott, Acosta, Addy Road, Brent Road, TSI Education, and TSI Southeast are each

the alter egos of the Debtor and holding them jointly and severally liable for all liabilities of the

Debtor’s Estate.

                          TENTH COUNT – UNJUST ENRICHMENT
                                 Against All Defendants

        294.    The allegations set forth in the previous paragraphs are incorporated herein by

reference as if set forth at length.


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        295.    In the alternative, the Trustee asserts claims for unjust enrichment against each of

the Defendants.

        296.    As set forth in this Complaint, each of the Defendants was enriched and received

economic benefits without justification as a result of, but not limited to, the Fraudulent Transfers

set forth on Exhibit A to this Complaint.

        297.    Defendants have unjustly retained the sums received by each of them to the

detriment of the Debtor’s Estate and its creditors.

        298.    The Debtor was impoverished as a result of the Fraudulent Transfers. Without

limitation, the Debtor did not receive a reasonably equivalent value for any of the Fraudulent

Transfers, which resulted in substantially all of the Debtor’s assets being syphoned off and the

Estate being left with millions of dollars in unpaid claims and other liabilities.

        299.    There is a direct relationship between the enrichment of the Defendants and the

impoverishment of the Debtor’s Estate, as the Fraudulent Transfers were made directly from the

Debtor’s bank account to or for the benefit of one or more of the Defendants.

        300.    There is no justification at all for the Fraudulent Transfers, which were the product

of self-dealings and other misconduct and are not supported by reasonably equivalent value.

        301.    Accordingly, the Trustee is entitled to a judgment against each of the Defendants

compelling them to disgorge and return the amounts by which they were unjustly enriched.

       ELEVENTH COUNT – PRELIMINARY AND PERMANENT INJUNCTION
                          Against All Defendants

        302.    The allegations set forth in the previous paragraphs are incorporated herein by

reference as if set forth at length.

        303.    Pursuant to section 105(a) of the Bankruptcy Code and Rule 7065 of the

Bankruptcy Rules, the Trustee seeks preliminary injunctive relief enjoining each of the Defendants



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and their agents and assigns from selling, assigning, transferring, encumbering or otherwise

disposing of (i) the Real Properties and (ii) the Fraudulent Transfers, as to each Defendant, in the

amounts set forth on Exhibit A to this Complaint and directing each Defendant to account to the

Trustee for same.

         304.     Section 105(a) provides that this Court “may issue any order, process, or judgment

that is necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a).

         305.     Bankruptcy Rule 7065 provides that “Rule 65 F.R.Civ.P. applies in adversary

proceedings, except that a temporary restraining order or preliminary injunction may be issued on

application of a debtor, trustee, or debtor in possession without compliance with Rule 65(c).” Fed.

R. Bankr. P. 7065.14

         306.     A party is entitled to injunctive relief upon a showing of (i) reasonable probability

of success in the litigation and (ii) more likely than not irreparable injury absent such relief. If a

party succeeds in making those showings, the court then conducts an overall balancing in

consideration of two additional factors: (iii) the possibility of harm to other interested persons from

the grant or denial of the injunction, and (iv) the public interest.

         307.     As set forth in detail in this Complaint, there is a reasonable probability—in fact,

there is a high probability—that the Trustee will succeed on the merits of his claims against the

Defendants.

         308.     As also set forth in detail in this Complaint, there is a real threat of irreparable harm

if the Trustee is not granted an injunction. Among other things, the Defendants have a well-

documented history of efforts to hinder, delay, and frustrate judgment enforcement.


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  Rule 65(c) provides that “[t]he court may issue a preliminary injunction or a temporary restraining order only if the
movant gives security in an amount that the court considers proper to pay the costs and damages sustained by any
party found to have been wrongfully enjoined or restrained. The United States, its officers, and its agencies are not
required to give security.” Fed. R. Civ. P. 65(c).


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        309.      For example, prior to the Conversion Date, Mott and Acosta, on behalf of

themselves and the other Defendants, engaged in numerous overt acts to hinder, delay, and

frustrate the Debtor’s creditors, such as submitting false documents, altering documents, providing

false, misleading or evasive testimony, and moving funds through shell companies, real estate, and

third parties.

        310.      Following the Conversion Date, Mott and Acosta, on behalf of themselves and the

other Defendants, have continued their efforts to hinder, delay, and frustrate the Trustee’s

investigation of the Debtor’s assets and liabilities.

        311.      The balance of equities weighs in favor of granting the injunctive relief requested

by the Trustee.

        312.      The Defendants will not suffer any true prejudice as they have no legal right to the

Real Properties and/or the Fraudulent Transfers. Moreover, the injunctions would only remain in

effect until the Trustee’s money judgment has been satisfied.

        313.      The public interest would be served by granting the injunctive relief, as the

Defendants have improperly diverted or received millions of dollars in transfers that were made

with actual intent to hinder, delay, and defraud the Debtor’s creditors and have gone to great

lengths to conceal those ill-gotten funds transfers and to frustrate efforts to untangle their

fraudulent scheme.

        314.      Absent the injunctive relief requested herein, the Trustee would suffer manifest

prejudice as he would be compelled to repeat the “cat and mouse” game that the creditors were

forced to undertake prior to the Petition Date in an effort to recover the Fraudulent Transfers and

other damages to which the Trustee is entitled.




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        315.    Finally, no security should be required pursuant to Bankruptcy Rule 7065 and Rule

65(c), as the Trustee is seeking injunctive relief simply to prevent the diversion or dissipation of

funds that have already been diverted and to recover such funds for the benefit of the creditor-

victims of the fraudulent scheme perpetrated by Mott and Acosta for the benefit of themselves and

the other Defendants. The harm to the Defendants as a result of any preliminary or permanent

injunctive relief would be minimal, if any harm exists at all. No security bond is necessary or

appropriate in this case.

        316.    As set forth above, on July 14, 2022, the Court entered the Contempt Order, among

other things, prohibiting the Member Defendants and their affiliates from transferring or

encumbering three of the Real Properties for a period of six months, “without prejudice to the

rights of any party to seek to terminate or to extend this prohibition.”

        317.    On January 27, 2023, the Court entered certain orders granting, among other things,

certain preliminary injunctive relief against Defendants Mott, Acosta, CM, JM, Addy Road, and

TSI Gulf Coast. See Adv. Proc. D.I. 25 & 26.

        318.    The Trustee is entitled to the entry of a preliminary injunction and a permanent

injunction on the terms requested herein.

        319.    Further, the Trustee reserves the right to seek further injunctive relief, including,

without limitation, as against Defendants TSI Education and TSI Southeast.

                       TWELFTH COUNT – CONSTRUCTIVE TRUST
                                Against All Defendants

        320.    The allegations set forth in the previous paragraphs are incorporated herein by

reference as if set forth at length.




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       321.    A constructive trust is an equitable remedy to redress a wrong. When one party, by

virtue of fraudulent, unfair or unconscionable conduct, is enriched at the expense of another to

whom he or she owes some duty, a constructive trust will be imposed.

       322.    As set forth in detail in this Complaint, Mott, Acosta, and others—acting on their

own behalf and on behalf of each of the Defendants—engaged in conduct that were fraudulent,

unfair, and/or unconscionable.

       323.    Among other things, Mott, Acosta, and/or their agents made knowing

misrepresentations, concealed material facts, and/or made reckless misrepresentations, all in order

to induce the Debtor’s creditors to act to their detriment.

       324.    In addition, Mott, Acosta, and/or their agents, among other things, engaged in

unconscionable dealings, including the unfair use of their positions as Managers and members of

the Management Committee and their control over TSI. Mott and Acosta showed absolutely no

regard for conscience and affronted the sense of justice, decency, and reasonableness.

       325.    Mott and Acosta were each fiduciaries of the Debtor at the time of such conduct.

       326.    As set forth in detail in this Complaint, each of the Defendants was directly and

materially enriched was enriched by virtue of such fraudulent, unfair, and/or unconscionable

conduct.

       327.    Each of the Defendants received the Fraudulent Transfers and/or the Real

Properties, as applicable, by fraud.

       328.    Accordingly, each of the Defendants is the involuntary trustee of the Fraudulent

Transfers and/or the Real Properties, as applicable, for the benefit of the Trustee in his capacity as

Chapter 7 Trustee of the Estate.




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          329.    Accordingly, the Trustee seeks the entry of a judgment (a) declaring a constructive

trust with respect to the Real Properties and the Fraudulent Transfers and (b) directing each of the

Defendants, as applicable, to convey to the Trustee (i) title to the Real Properties and (ii) the

Fraudulent Transfers, as to each Defendant, in the amounts set forth on Exhibit A to this

Complaint.

                         THIRTEENTH COUNT – AN ACCOUNTING
                   Against Defendants Deborah Evans Mott, Steven M. Acosta,
                  Christopher Mott, John S. Maciorowski, and Addy Road LLC

          330.    The allegations set forth in the previous paragraphs are incorporated herein by

reference as if set forth at length.

          331.    An accounting is an equitable remedy that consists of the adjustment of accounts

between parties and a rendering of a judgment for the amount ascertained to be due to either as a

result.

          332.    As set forth in detail in this Complaint, Mott and Acosta failed to maintain complete

and accurate books and records of the Debtor’s transfers to and transactions with Mott, Acosta,

and the other Defendants.

          333.    Upon information and belief, Mott and Acosta possess financial books and records

relating to the Debtor.

          334.    However, Mott and Acosta have each failed and refused to turn over the Debtor’s

complete books and records and/or actively concealed or destroyed the Debtor’s books and

records.

          335.    At all times relevant hereto, Mott and Acosta each owed the Debtor fiduciary duties

of care, loyalty, and good faith because they were the only Manages and the only members of the

Management Committee of the Debtor.




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         336.     As set forth in detail above, Mott and Acosta each breached his or her fiduciary

duties owed to the Debtor.

         337.     As a result of Mott’s and Acosta’s breaches of his or her fiduciary duties, the Estate

has suffered and will continue to suffer injury and irreparable harm as set forth in detail in this

Complaint.

         338.     Defendants CM and JM each were members of the Debtor and, therefore, could

have examined the Debtor’s books and records and taken steps in response to Mott’s and Acosta’s

gross mismanagement, blatant self-dealing, and other breaches of duty. Instead, CM and JM did

nothing to prevent the continued harm to the Debtor and accepted their share of the fruits of the

fraud.

         339.     Defendant Addy Road purported to have a commercial relationship with the

Debtor, including without limitation, with respect to the $2,999,998.60 for invoice dated January

4, 2019 for “Logistics and Fuel Services.” Further, Addy Road received or directly benefited from

more than $4 million of the Debtor’s money and Addy Road was used as an instrumentality to

fraudulently transfer and conceal such funds.

         340.     The Trustee requires and is entitled to an accounting setting forth all of the Debtor’s

transfers to and transactions with Mott, Acosta, CM, JM, Addy Road, and the other Defendants,

each of whom is an affiliate of Mott, Acosta, CM, JM, Addy Road.15

         341.     Accordingly, the Trustee seeks the entry of a judgment directing Mott, Acosta, CM.

JM, and Addy Road each to perform a full and accurate accounting of all of the Debtor’s transfers




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  To the extent that any of the other Defendants asserts that they had any legitimate right to receive any of the
Fraudulent Transfers made to or for their benefit, the Trustee reserves the right to seek a full accounting from those
Defendants as well.


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to or for the benefit of the Defendants for the period of August 1, 2017 through the date of entry

of the judgment and to remit to the Trustee all funds owed to the Estate.

                                     ATTORNEY’S FEES

       342.    Based upon egregious misconduct, bad faith, numerous breaches of duty, and other

misconduct by Mott, Acosta and others, as set forth in this Complaint, which should be imputed

to each of the other Defendants, who are family members, affiliated entities or otherwise directly

benefited from such misconduct, the Trustee seeks an award of his reasonable attorney’s fees and

expenses incurred in connection with investigating, filing, and prosecuting this action.

                                 RESERVATION OF RIGHTS

       343.    During the course of this proceeding, the Trustee may learn through discovery or

otherwise of additional claims or causes of action that are actionable under the provisions of the

Bankruptcy Code or other applicable law. The Trustee reserves all rights to amend this original

Complaint to, among other things, (i) modify of and/or revise to Defendants’ names; (ii) add

defendants; and/or (iii) add claims or causes of action, if applicable (collectively, the

“Amendments”), that may become known to the Trustee at any time during this adversary

proceeding, through formal discovery or otherwise, and for the Amendments to relate back to the

filing of this original Complaint.

                                         CONCLUSION

       WHEREFORE, Plaintiff George L. Miller, solely in his capacity as the Chapter 7 Trustee

of the Estate of Team Systems International, LLC, demands judgment in his favor and against each

of the Defendants, as follows:

       a.      The entry of a judgment in favor of the Trustee and against each of the Defendants
               avoiding and recovering the Fraudulent Transfers, in an amount to be determined
               at trial;




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b.    The entry of a judgment in favor of the Trustee and against Defendants Deborah
      Evans Mott and Steven M. Acosta holding them liable for their breaches of
      fiduciary duty, in an amount to be determined at trial;

c.    The entry of a judgment in favor of the Trustee and against each of the Defendants
      holding them liable for aiding and abetting the breaches of fiduciary duty by Mott
      and/or Acosta;

d.    The entry of a judgment in favor of the Trustee and against Defendant Deborah
      Evans Mott in the amount of the Unlawful Mott Distributions;

e.    The entry of a judgment in favor of the Trustee and against Defendant Steven M.
      Acosta in the amount of the Unlawful Acosta Distributions;

f.    The entry of a judgment piercing the corporate veil and declaring that Defendants
      Deborah Evans Mott, Steven M. Acosta, Addy Road LLC, Brent Road LLC, TSI
      Education & Training, Inc., and Team Systems International Southeast LLC are
      each the alter ego of the Debtor and are jointly and severally liable for all of the
      liabilities of the Debtor’s Estate;

g.    The entry of a judgment in favor of the Trustee and against each of the Defendants
      the extent that they were unjustly enriched at the expense of the Debtor;

h.    The entry of preliminary and permanent injunctions prohibiting and enjoining each
      of the Defendants from selling, assigning, transferring, or otherwise disposing of
      any of the Real Properties and the Fraudulent Transfers, as to each Defendant, in
      the amounts set forth on Exhibit A to this Complaint;

i.    The entry of a judgment imposing a constructive trust upon each of the Defendants
      with respect to Real Properties and the Fraudulent Transfers, as to each Defendant,
      in the amounts set forth on Exhibit A to this Complaint;

j.    The entry of a judgment directing Defendants Deborah Evans Mott, Steven M.
      Acosta, Christopher Mott, John S. Maciorowski, and Addy Road LLC each to
      perform an accounting, as set forth above;

k.    An award of reasonable attorneys’ fees and costs;

l.    An award of pre- and post-judgment interest; and




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      m.     Such additional relief as this Court deems just and equitable.


Dated: April 6, 2023                            ARCHER & GREINER, P.C.

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                                                Solely in his capacity as the
                                                Chapter 7 Trustee of
                                                Team Systems International, LLC




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